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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION
                                  www.flmb.uscourts.gov

In re:

GABRIEL C. MURPHY,                                            Case No.: 9:17-bk-07843-FMD

            Debtor.                                           Chapter 7
__________________________________/

               CERTIFICATION OF GABRIEL C. MURPHY IN SUPPORT OF
              MOTION TO DISMISS INVOLUNTARY BANKRUPTCY PETITION

         COMES NOW, Gabriel C. Murphy, the Debtor in the above matter, in support of his

motion to dismiss the within involuntary bankruptcy proceeding, hereby certifies as follows:

         1.     I am the Debtor in the above captioned matter, and as such, am fully familiar with

the facts contained herein. I am also willing to testify as to these facts, should the Court determine

that an evidentiary hearing is necessary.

         2.     The within involuntary bankruptcy proceeding was filed on September 5, 2017 by

three entities – Investment Theory, LLC (“Investment Theory”), Digital Technology, LLC

(“Digital Technology”), and Guaranty Solutions Recovery Fund 1, LLC (“Guaranty Solutions”),

hereinafter collectively referred to as the “Creditors.”

         3.     The Creditors list my address on the petition as 1237 Homestead Road North #14,

Lehigh Acres, FL 33936. The Summons that was issued in this case was issued on September 7,

2017 (Doc. 3), and the Creditors’ attorney filed a Second Amended Certificate of Service (Doc. 6)

indicating that he mailed the Summons and Involuntary Petition to that address, “his dwelling

house or usual place of abode.” However, as the Creditors are well aware, that address is a post

office box, and is not my residence. In fact, I no longer use that post office box. Annexed hereto

as Exhibit “A” is a copy of the docket of a Lee County case filed against me by Investment Theory,
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case no. 17-CA-001354, and a Return of Service of a Writ, indicating that Investment Theory

instructed the Sheriff to serve me at my actual residence of 421 La Perouse Street, Lehigh Acres,

Florida 33974, and that I was indeed personally served at that residential address. This personal

service was accomplished on May 16, 2017. Also indicated is that the attorney for Investment

Theory is Kelly Kwiatek, who is the same person who signed the Involuntary Petition as “attorney

in fact” for both Investment Theory and Digital Technology. Thus, the Creditors intentionally

mailed the Summons and Involuntary Petition to an address which they knew was not my

“dwelling house or usual place of abode.”

       4.      I never received the Summons or Involuntary Petition, and was not made aware of

the existence of the involuntary bankruptcy until my Kansas attorney informed me that a Notice

of Automatic Stay was filed in a lawsuit in Kansas, case no. 16CV01123, in which I am a Plaintiff

(among other Plaintiffs). Annexed hereto collectively as Exhibit “B” are the Notice of Automatic

Stay and the caption of the 41-page Complaint in that matter. Note that the Notice indicates in the

Certificate of Service that it was served on September 7, 2017, but it was not filed with the Court

until September 19, 2017. I have thus had only a few days to respond to this involuntary filing.

       5.      It is my understanding that in order for the involuntary bankruptcy to stand, each

of the Creditors must have a claim which is not contingent or disputed. This is not the case with

respect to Digital Technology. Digital Technology represents in the involuntary petition that it is

due $325,664.45 pursuant to a “promissory note and personal guaranty.”            Annexed hereto

collectively as Exhibit “C” are the following documents: Promissory Note between Digital

Technology and Crowd Shout Ltd. in the face amount of $400,000; my Personal Guaranty of that

Note; the Asset Purchase Agreement relating to the Note; and a Notice of Indemnification Claim

relating to those documents.




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       6.      Paragraph 3 of the Promissory Note provides that the amount due under the Note

is subject to the terms and conditions of the Asset Purchase Agreement, including a right of offset

of any amount due. Sections 5.3 and 5.5 of the Asset Purchase Agreement provides for a right of

indemnification against Digital Technology by Crowd Shout Ltd. of up to $400,000 (which is the

“holdback amount,” as defined in section 2.3). The Notice of Indemnification Claim dated

November 19, 2014 effectively eliminated the obligation under the Promissory Note, since it

eliminated the “holdback amount” of $400,000. Thus, I am not liable for any amount under the

Personal Guaranty. I am not requesting that this Court rule on the merits of this issue, but I am

simply demonstrating that at the very least, the amount allegedly owed to Digital Technology is

both disputed and contingent. This particular issue is the subject of litigation presently underway

in the Isle of Man and the Republic of Malta. See captions collectively annexed hereto as Exhibit

“D.”

       7.      I assert that this involuntary bankruptcy was filed against me in bad faith, for the

improper purpose of Michael Connolly attempting to avoid having his deposition taken in a state

court matter which he filed against me in Kansas in January of 2015. Michael Connolly is the

majority and controlling owner of both Digital Technology and Investment Theory. See letter

from one of his attorneys confirming this, annexed hereto as Exhibit “E.” There is ongoing

litigation between myself individually and my companies and Michael Connolly and his

companies, in Kansas, Florida, the Isle of Man, and the Republic of Malta. Kelly Kwiatek, who

signed the involuntary petition on behalf of Digital Technology and Investment Theory, is one of

Michael Connolly’s attorneys.

       8.      Annexed hereto as Exhibit “F” is the 18-page docket of one of the Kansas lawsuits,

case no. 15CV00453. In that lawsuit, as shown on page 17 of the docket, a subpoena duces tecum




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was issued to Michael Connolly, an application for a commission was made so that Mr. Connolly

could be served in Florida. Thereafter, in December of 2016, a notice to take his video-taped

deposition was served upon Mr. Connolly, and an affidavit of service was filed. As a result of

Michael Connolly being served with a subpoena, he filed suit in Orange County, Florida, the day

prior to his scheduled deposition, attempting to enjoin me from doing so. However, the Orange

County court issued an Order compelling the deposition of Michael Connolly. The Orange County

Complaint and the Order Compelling Deposition are annexed hereto collectively as Exhibit “G.”

       9.      Michael Connolly appealed the Order compelling his deposition to the 5th District

Court of Appeals (the “5th DCA”) through the filing of a Writ of Certiorari. The 5th DCA did not

hold oral argument, and briefs and reply briefs had been submitted approximately one month ago.

Thus, prior to the filing of this involuntary bankruptcy petition, this issue was ripe for

determination by the 5th DCA. See 5th DCA docket, annexed hereto as Exhibit “H.” Thus, the 5th

DCA could have rendered its decision at any time, when Michael Connolly’s companies filed the

involuntary bankruptcy case against me.

       10.     Michael Connolly, through his attorney, filed a Notice of Automatic Stay in the 5th

DCA matter, indicating that a bankruptcy petition was filed against me, and that therefore the

appeal should be stayed. See Notice annexed hereto as Exhibit “I.” So, essentially, Michael

Connolly stayed the Order compelling his deposition, by having his companies file a bankruptcy

against me.

       11.     Similarly, as set forth previously, Michael Connolly had his attorney in Kansas file

a Notice of Automatic Stay in the Kansas case in which I am a Plaintiff and Michael Connolly is

a Defendant. It is my understanding that this Notice of Automatic Stay is improper, since only




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actions against me are stayed, not actions being prosecuted by me. This is just other evidence of

bad faith on the part of Michael Connolly and the Creditors.

       12.     The within involuntary bankruptcy filing is basically the latest in a series of litigious

matters over several years between me (and my companies) and Michael Connolly (and his

companies). It is respectfully submitted that the involuntary petition has been filed for an improper

purpose, and should not be allowed to continue.

       13.     I certify under penalty of perjury that the foregoing is true and correct. Executed

on September 28, 2017.

                                                            /s/ Gabriel C. Murphy                 _
                                                               Gabriel C. Murphy


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished
electronically via CM/ECF, or otherwise by Regular US Mail, to the following interested
parties, on September 28, 2017:

U.S. Trustee, 501 E. Polk Street, Suite 1200, Tampa, FL 33602
Richard R. Thames, Esq., Thames Markey & Heekin, P.A., 50 N. Laura St. #1600, Jacksonville,
        FL 32202
All persons receiving notice via CM/ECF


                                                       BRIAN D. ZINN, LLC
                                                       Counsel for Debtor
                                                       1342 Colonial Boulevard, Suite K230
                                                       Fort Myers, Florida 33907
                                                       Phone: (239) 418-1529
                                                       Facsimile: (239) 236-0295

                                                         /s/ Brian D. Zinn                    _
                                                       BRIAN D. ZINN, Esq.
                                                       Fla. Bar No. 012497
                                                       brian@zinn.law
                                                       www.zinn.law




                                                  5
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                     Exhibit B
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                                     Clerk of the District Court, Johnson County Kansas
                                                                   09/19/17 10:30am EP
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                                     Clerk of the District Court, Johnson County Kansas
                                                                   09/19/17 10:30am EP
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                                                                                 November 19, 2014
Crowd Shout, Ltd.
P.O. Box 665
Bridge Chambers
West Quay, Ramsay
Isle of Man IM994PD

Digital Technology, LLC
Attention: Michael Connolly
125 E. Indiana Ave., Suite B
DeLand, Florida 32742

Digital Technology, LLC
Attention: Michael Connolly
444 New England Ave., Suite 215
Winter Park, Florida 32789

Cobb Cole
Attention: Andrea M. Kurak, Esq.
150 Magnolia Ave.
Daytona Beach, Florida 32114



RE:    NOTICE OF INDEMNIFICATION CLAIM
       CEASE & DESIST DEMAND
       ACCOUNTING & DEMAND FOR PAYMENT
       REQUEST FOR MEDIATION

Attention Michael Connolly:

Reference is made to that certain Asset Purchase Agreement (“APA”), the Advertising Management
Services Agreement (“AMSA”) and the Noncompetition, Nondisclosure and Nonsolicitation Agreement
(“NNNA”) executed between Seller and the Company on or around August 10, 2012. As you know, this
transaction was to consummate the acquisition of a certain audio-to-video conversion website,
video2mp3.net (the “Website”).

This letter shall serve as formal notice under Section 5.3 of the APA of a number of claims for
indemnification against Buyer and Owners. We continue to calculate damages from the Seller’s and/or
Owners’ repeated violations of the APA, AMSA and the NNNA. Our damages will exceed the
indemnification cap of $400,000. Per Section 5.2 of the APA, you are hereby put on notice of various
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breaches of these Agreements, the damages of which exceeds $400,000. Pursuant to Sections 5.3 and 5.5
of the APA, the Company has offset this liability against the full Holdback Amount.

Factual Basis of Indemnification Claims

Seller has breached various representations made in the APA, ANSA and NNNA, giving rise to the claims
pursuant to Section 5.2(a) of the APA.

Violations of the NNNA
As you are no doubt aware, the NNNA was an inducement for my client to enter into the APA. Simply put,
absent Owners agreeing to the terms set forth in the NNA, my client would not have paid the $3,000,000
purchase price for the Website. Additionally, the NNNA was executed by ConTech, LLC d/b/a Sonobi
(“Sonobi”) as well as both you and your business partner, Nathan Thomas (“Thomas”), in your individual
capacities.

Providing Services to Competing Businesses
In the second paragraph of Section 2 sub (d) and (e) of the NNNA you individually, along with business
partner Nathan Thomas, and the Buyer, all acknowledge that:

        “Buyer has required that [Connolly / Thomas / Seller] make the covenants set forth in Sections 3 and
        4 of this Agreement (NNNA) as a condition to Buyer’s purchase of the Assets” – Section 2(b) of NNNA

        “the provisions of Section 3 and 4 of this Agreement (NNNA) are reasonable and necessary to
        protect and preserve Buyer’s interests in and right to the use and operation of the Assets from and
        after Closing” – Section 2(e) of NNNA

Section 4(a)(i) of the NNA states:

        “[Connolly / Thomas / Seller] will not, directly or indirectly, engages or invest in, own, manage,
        operate, finance, control or participate in the ownership, management, operation, financing or
        control of, be associated with or in any manner connected with, or render services or advice or other
        aid to, or guarantee any obligation of, any Person engaged in or planning to become engaged in a
        business that offers or is affiliated with a business that offers free or fee-based audio conversion,
        anywhere within the world” – emphasis added

There can be no dispute that the Buyer and Owners, through Contech, LLC (“Contect”) have been providing
advertisement management services to business(es) that offer the identical service (free or fee-based audio
conversion) through the Website in clear violation of Section 4(a)(i) above. Mr. Connolly admitted to
providing services to competing websites in writing to Murphy on October 29, 2014 via Google Hangouts.
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As admitted to in Exhibit A, Sellers have been profiting from providing services to completing websites
“listentoyoutube.com” and “vid2mp3.com”, the “Competing Websites”.

Travis Dennis has confirmed via email today that Sonobi handles his “display”. More helpful, the owner of
the Competing Websites confirms that his revenues are “not dissimilar” to that of video2mp3.net. Using
a standard 20% revenue share for Sonobi earned off of the Competing Websites, we arrive at the following
simple damage calculation:

        Vido2mp3.Net Total Revenue (Closing – Present):                      ~ $2,300,000

        % of Revenue of Competing Websites from Sonobi:                      50%

        Revenue from Competing Websites Attributable to Sonobi:              ~$1,150,000

        Sonobi Share of Revenue (20%):                                       $230,000

Accordingly, we have offset this $230,000 (which is subject to further modification based on actual
information) against the Holdback Amount.

Solicitation Breach
Continuing along in the NNNA, the next paragraph, Section 4(a)(ii) states:

        “[Connolly / Thomas / Seller] agrees not to, directly or indirectly, (A) in any way interfere with the
        relationship between Buyer and any employee of Buyer; (B) employ or otherwise engage as an
        employee, independent contractor or otherwise any employee of Buyer.” – emphasis added

As you know, you have solicited and directly hired Nicholas Gaugler to work on various projects of Sonobi–
none of which are related in any way to the business affairs of the Company and all of which are a direct
breach of the aforementioned provision of the NNNA.

Remedies under the NNNA
Section 5(a) of the NNNA calls for damages owed to Buyer as a remedy for the aforementioned breaches.
Additionally, 5(b) calls for the right to obtain injunctive or other equitable relief to restrain any breach or
otherwise to specifically enforce the provisions of Section 3 and 4.

DEMAND IS HEREBY MADE THAT YOU AND OTHER OWNERS AND YOUR COMPANIES CEASE AND DESIST
PROVIDING SERVICES FOR THE COMPETING WEBSITES AND SOLICITING PERSONS INVOLVED WITH THE
OPERATION OF THE WEBSITE. YOU HAVE UNTIL FRIDAY, NOVEMBER 28, 2014 TO DISCONTINUE PROVIDING
ANY SERVICES TO COMPETING WEBSITES OR FACE THE POSSIBILITY OF INJUNCTIVE RELIEF.
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Violations of the AMSA

Like the NNNA, the AMSA was a material inducement for the Company and its shareholders to enter into
the APA. As stated in Section 2.2 of the AMSA, “Sonobi shall use its best efforts in performing its obligation
under this Agreement consistent with the efforts historically used by Sonobi with the Business, and the
quality and attention to the Services provided hereunder by Sonibi shall be the same quality and attention
to the Services historically undertaken by Sonobi in relation to the Business prior to the date hereof.

As we will demonstrate in mediation, Sonobi has engaged in “revenue manipulation” practices whereby,
viewed in the most favorable light, Sonobi repeatedly engaged in intentional misrepresentation as to the
actual revenue earned by the Website.

We draw your attention to one of these “revenue manipulation” events, which occurred on February 28,
20-13. According to information provided through the Sonobi dashboard, Sonobi reports that the Website
generated revenue of $11,626.92 on February 28, 2013. That same day, Sonobi also reports the total
impressions run through Sonobi from the Website of 3,000,360 with a reported CPM of $0.36797.

This day is special because the number of impressions served through Sonobi roughly tripled when looking
at a 14 day prior and post period. Yet revenue increased by a factor of 17 fold even though the reported
CPM was lower on February 28 than the day preceding and following. The analysis of our subject matter
expert shows that the revenue to CPM ratio increased by over 1,900% on February 28- an event that is not
caused without manipulation of the base figures (impressions, clicks, revenue).

Ruoyi Jiang continues to crunch the figures to show a number of other revenue manipulation patterns,
including “skimming” or “shaving” revenue. Statistical comparisons against other publishers with similar
profiles – such as the Competing Websites – are underway, as a confirmatory measure.



Accounting
Given you do not have a spreadsheet on all of the payments, we took the liberty to prepare one. When
accounting for all payments made between the parties since the $900,000 payment on the Closing, the
accounting shows when considering the Holdback Amount is fully set-off, you and Sonobi now owe the
Company over $120,000. This number will move a bit based on a recent payment ConTech made a few
weeks back, plus recent credit the Company is due for revenue earned through Sonobi.
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We will follow-up this communication with our legal counsel in the Isle of Man with an exact figure along
with an invoice for payment so we may settle this matter. Should you dispute any of the facts contained
herein, I would welcome resolution via mediation as mandated within the APA in the Isle of Man.



Yours Truly,




Gabriel C. Murphy



CC:     Kevin John Perks
        Cory Lagerstrom
        Robert Hepting
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                     Exhibit E
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                                                                                                         Matthews. VVelch
·william M. Cobb                                                                                         .Michael}. \V"oods
(1881-1939)                                                                                              .Michael 0. Sznapstajler
Thomas T. Cobb                                                                                           Melissa B. Mmphy
(1916-20M)                                                                                               Pamela ll. !viasters
VV. \V"ai-:rcn Colc,Jr.                                                                                  Robe1t E. Doan
(1926-2008)                                                                                              Rachel I. Pringle
C. Allen ·watts                                                                                          Kelsie \V". VVillett
                                                                                                         Erica C.Johnson
(19cJ6-2015)                                                      Attorne~ at Law
                                                                                 Since 1925              OF COUNSEL
Harold C. Hubka
Scott VV. Cichon                                                                                         Thomas S. Hait
Robert A. McITell III                                                                                    LmyD. Marsh
                                                           Daytona Beach • Deland                        Maja Sander Bowler
John P. Ferguson
Thomas J. Leek                                                                                           VVilliam A. Parsons
                                                     149 South Ridgewood Avenue, Suite 700
Mark A. VVaUs
Heather Bond Vargas                                        Daytona Beach, Florida 32114                  RETIRED
Kelly Parsons Kwialck                                           (386) 255-8171                           Jay D. Bond,Jr.
K.athlccn L. Crntly                                                                                      Rhoda Bess Goodson
Audrea M. Km.tk
                                                              CobbCole.com


                                                            February 24, 2017

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       Gabriel Murphy
       421 La Perouse Street
       Lehigh Acres, FL 33974

       bencreedy@mtselaw.com
       Benjamin S. Creedy, Esq.
       Murphy, Taylor, Siemens and Elliott P.C.
       3007 Frederick Avenue
       St. Joseph, MO 64506

       andy@protzmanlaw.com
       Andrew B. Protzman, Esq.
       Protzman Law Firm, LLC
       1100 Main Street, Suite 2550
       Kansas City, MS 64105

                      Re:    Litigation involving Gabriel Murphy

       Dear Sirs:

              We are privileged to serve as counsel to Michael Connolly and his related entities,
       including Digital Technology, LLC and Investment Theory, LLC. The purpose of this letter is to
       inform you of several additional legal issues related to the various pending actions, and to make
       proper demand under Florida law for amounts payable by Mr. Murphy. The demands made
       herein are made on behalf of Digital Technology, LLC and Investment Theory, LLC, however,
       given Mr. Murphy's representation by multiple counsel, we felt it prudent to provide these
       demands via a singular communication directed jointly to all addressees. Ultimately, Mr.
       Murphy, individually, is responsible for all debts and judgments to be described hereafter.

              On August 10, 2012, Crowd Shout, Ltd. executed a promissory note evidencing a
       principal amount of $200,000.00 due and payable to Digital Technology. This note was
       personally guaranteed by Mr. Murphy. It was delivered in connection with that certain Asset
       Purchase Agreement between Digital Technology and Crowd Shout, and per the terms of such

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agreement, is "an unconditional obligation ... free from any right of offset, or defense to non-
payment .... " This note was payable in equal monthly installments of principal and interest, and
payments were to have commenced on September 1, 2013. While it should have been fully paid
and satisfied by August 1, 2014, neither Crowd Shout, nor Mr. Murphy ever made any payments.
In light of the foregoing, demand is hereby made for payment in full of $326,882.00 - together
with additional accruing interest at the highest lawful rate through the date of payment, expenses
and costs of collection.

        Further, there is a civil judgment that has been entered against Mr. Murphy in the amount
of $1,555,592.36, together with interest of $167,597.50 as of September 1, 2012, interest that has
continued accruing at a rate of $213.50 per diem, and reasonable attorneys' fees and expenses in
the amount of $27,000.00. The owner and holder of this judgment, Investment Theory, LLC, is
controlled by Mr. Connolly. An Assignment of Judgment is being filed in the United States
District Court for the Western District of Missouri, Western Division, and collection efforts will
be commenced against Mr. Murphy immediately to recover amounts due thereunder. Please be
reminded that you are now on notice of these claims, and no actions to transfer or dispose of any
assets that may be attached, including without limitation, Mr. Murphy's interest in GCM
Holdings, Ltd, owner of both Techbiz Advisors, LLC and Westmark Capital, LLC, should be
taken.

        Although we had hoped that there would be an amicable resolution of the contested share
transfer regarding Crowd Shout Holdings, Ltd., Mr. Murphy has not been open to reasonable
settlement negotiations, and we now have no choice but to pursue these additional claims by
filing of appropriate actions, commencing collections, and proceedings supplementary. In light
of his recent actions in Malta leading to his arrest, we see new urgency in bringing these matters
to conclusion.      See http://www.timesofmalta.com/articles/view/20170126/local/man-found-
carrying-gun-and-ammunition-at-the-airport.637642.

        To the extent that we will need to serve Mr. Murphy with pleadings related to any of
these actions, please advise if you will accept service on his behalf.

          Enclosed Please See Notices Pursuant to Fair Debt Collection Practices Act.




                                                  Direct Dial (386) 323~92 9
                                                  Email Kelly.Parsons@CobbCole.com
                                                  Fax (386) 944-7958
KPK:mcs
Enclosures
cc:    Adam J. Gasper, Esq.
       David Marcus, Esq.



{042S64-004 · KPARS/CORR: 02109918.DOCX; 4}
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                              NOTICE PURSUANT TO THE
                   FAIR DEBT COLLECTION PRACTICES ACT, "THE ACT"
                             15 U.S.C. § 1692G, AS AMENDED

         1.        The amount of the debt is: $200,000 plus interest.

         2.        Digital Technology, LLC is the creditor to whom the debt is owed.

       3.      The debtor may dispute the validity of this debt, or any portion thereof, within thirty
(30) days ofreceipt of this notice. If the debtor fails to dispute the debt within thirty (30) days, the
debt will be assumed to be valid by the creditor.

        4.      If the debtor notifies the creditor's law firm in writing within thirty (30) days from
receipt of this notice that the debt, or any portion thereof, is disputed, the creditor's law firm will
obtain verification of the debt or a copy of a judgment, and a copy of the verification or judgment
will be mailed to the debtor by the creditor's law firm.

        5.     If the creditor named herein is not the original creditor, and if the debtor makes a
written request to the creditor's law firm within thirty (3 0) days of receipt of this notice, the name
and address of the original creditor will be mailed to the debtor by the creditor's law firm.

         6.        Written requests pursuant to this notice should be addressed to:

                                            Kelly Parsons Kwiatek, Esq.
                                                    Cobb Cole
                                                   PO Box2491
                                           Daytona Beach, Florida 32114

       7.     This communication is for the purpose of collecting a debt, and any information
obtained from the debtor will be used for that purpose.

THE LAW DOES NOT REQUIRE THE DEBT COLLECTOR TO WAIT UNTIL THE
END OF THE TIDRTY-DAY PERIOD TO INITIATE LEGAL ACTION TO COLLECT
THIS DEBT. IF, HOWEVER, YOU REQUEST PROOF OF THE DEBT OR THE NAME
AND ADDRESS OF THE ORIGINAL CREDITOR WITIDN THE THIRTY-DAY PERIOD
WIDCH BEGINS WITH YOUR RECEIPT OF THIS NOTIFICATION, THE LAW
REQUIRES THE DEBTOR COLLECTOR TO SUSPEND EFFORTS (THROUGH
LITIGATION OR OTHERWISE) TO COLLECT THE DEBT UNTIL THE DEBT
COLLECTOR MAILS THE REQUESTED INFORMATION TO YOU.

YOUR RIGHTS UNDER THE FAIR DEBT COLLECTION PRACTICES ACT ARE FOR
THE ENTIRE TIME PERIOD STATED ABOVE AND ARE NOT SHORTENED BY THE
DEADLINE CONTAINED IN ANY SUMMONS YOU MAY RECEIVE.




{026770-11031 BRUBI/DRFTMSC: 02073405.DOCX; I}
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                               NOTICE PURSUANT TO THE
                    FAIR DEBT COLLECTION PRACTICES ACT, "THE ACT"
                              15 U.S.C. § 1692G, AS AMENDED

       I.      The amount of the debt is: $1,555,592.36, together with interest of $167,597.50 as
of September 1, 2012, interest that has continued accruing at a rate of $213.50 per diem, and
reasonable attorneys' fees and expenses in the amount of $27,000.00.

         2.         Investment Theory, LLC is the creditor to whom the debt is owed.

       3.      The debtor may dispute the validity of this debt, or any portion thereof, within thirty
(30) days of receipt of this notice. If the debtor fails to dispute the debt within thirty (30) days, the
debt will be assumed to be valid by the creditor.

        4.      If the debtor notifies the creditor's law firm in writing within thirty (30) days from
receipt of this notice that the debt, or any portion thereof, is disputed, the creditor's law firm will
obtain verification of the debt or a copy of a judgment, and a copy of the verification or judgment
will be mailed to the debtor by the creditor's law firm.

        5.     If the creditor named herein is not the original creditor, and if the debtor makes a
written request to the creditor's law firm within thirty (30) days of receipt of this notice, the name
and address of the original creditor will be mailed to the debtor by the creditor's law firm.

          6.        Written requests pursuant to this notice should be addressed to:

                                              Kelly Parsons Kwiatek, Esq.
                                                      Cobb Cole
                                                     PO Box2491
                                             Daytona Beach, Florida 32114

       7.      This communication is for the purpose of collecting a debt, and any information
obtained from the debtor will be used for that purpose.

THE LAW DOES NOT REQUIRE THE DEBT COLLECTOR TO WAIT UNTIL THE
END OF THE TIDRTY-DAY PERIOD TO INITIATE LEGAL ACTION TO COLLECT
THIS DEBT. IF, HOWEVER, YOU REQUEST PROOF OF THE DEBT OR THE NAME
AND ADDRESS OF THE ORIGINAL CREDITOR WITHIN THE THIRTY-DAY PERIOD
WHICH BEGINS WITH YOUR RECEIPT OF THIS NOTIFICATION, THE LAW
REQUIRES THE DEBTOR COLLECTOR TO SUSPEND EFFORTS (THROUGH
LITIGATION OR OTHERWISE) TO COLLECT THE DEBT UNTIL THE DEBT
COLLECTOR MAILS THE REQUESTED INFORMATION TO YOU.

YOUR RIGHTS UNDER THE FAIR DEBT COLLECTION PRACTICES ACT ARE FOR
THE ENTIRE TIME PERIOD STATED ABOVE AND ARE NOT SHORTENED BY THE
DEADLINE CONTAINED IN ANY SUMMONS YOU MAY RECEIVE.



{026770-11031 : BRUBI/DRFTMSC: 02073405.DOCX; I)
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                         Exhibit F
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                                                              Civil CASE Filed 09/28/17
                                                                                (ROA)     Page 68 of 105

  Johnson County Kansas District Court
  CASE NO 15CV00453 CROWD SHOUT LTD ET AL vs. WESTMARK CAPITAL LLC ET AL
  Div/Judge 11/PAUL C GURNEY
  Chapter 60
  Nature OTHER CONTRACT (60)
  Status PENDING

  01/23/2015 NEW CASE E-FILED; CROWD SHOUT LTD VS WESTMARK CAPITAL LLC;
             FILING FEE $196.50; PAID BY KRAFT, ERIC G, RECEIPTED AMOUNT $196.50,
             E-PAYMENT NO: 59591135
  01/23/2015 JUDGE PAUL C GURNEY ASSIGNED TO CASE
  01/23/2015 FILE STAMP 01/23/15, VERIFIED PETITION FOR RESTRAINING ORDER,
             TEMPORARY AND PERMANENT INJUNCTION AND OTHER RELIEF
  01/23/2015 FILE STAMP 01/23/15, EMERGENCY APPLICATION FOR EX PARTE
             APPOINTMENT OF RECEIVER AND MEMORANDUM IN SUPPORT THEREOF
  01/23/2015 SCHED. TEMPORARY RESTRAINING ORDER on 02/03/15,04:00pm,Div 14
  01/26/2015 FILE STAMP 01/26/15, ORDER APPOINTING RECEIVER
  01/26/2015 FILE STAMP 01/26/15 08:09am, REQUEST AND SERVICE INSTRUCTION FORM
  01/26/2015 FILE STAMP 01/26/15 08:09am, REQUEST AND SERVICE INSTRUCTION FORM
  01/26/2015 PETITION, SUMMONS, APPLICATION AND ORDER ISSUED TO ATTORNEY
             FOR PROCESS SERVER "WESTMARK CAPITAL LLC" E/S
  01/26/2015 PETITION, SUMMONS, APPLICATION AND ORDER ISSUED TO ATTORNEY
             FOR PROCESS SERVER "GABRIEL MURPHY" E/S
  01/26/2015 CANCELLED TEMPORARY RESTRAINING ORDER on 02/03/15,04:00pm,Div 14
  01/26/2015 SCHED. TEMPORARY RESTRAINING ORDER on 02/05/15,04:00pm,Div 14
  01/26/2015 ELECTRONIC ENTRY OF APPEARANCE BY JOSEPH R COLANTUONO AS A
             DEFENSE ATTORNEY FOR WESTMARK CAPITAL LLC; GABRIEL MURPHY
  01/26/2015 ELECTRONIC ENTRY OF APPEARANCE BY KATHERINE I TRACY AS A
             DEFENSE ATTORNEY FOR WESTMARK CAPITAL LLC; GABRIEL MURPHY
  01/28/2015 FILE STAMP 01/28/15, TEMPORARY RESTRAINING ORDER
  01/29/2015 ELECTRONIC ENTRY OF APPEARANCE BY ISAAC DAVID KEPPLER AS A
             DEFENSE ATTORNEY FOR WESTMARK CAPITAL LLC; GABRIEL MURPHY
  02/02/2015 FILE STAMP 1/29/2015, TEMPORARY RESTRAININGORDER
  02/02/2015 ELECTRONIC ENTRY OF APPEARANCE BY JEAN BERNARD MENAGER AS A
             DEFENSE ATTORNEY FOR WESTMARK CAPITAL LLC; GABRIEL MURPHY
  02/04/2015 FILE STAMP 02/03/15, DEFENDANTS' MEMORANDUM IN OPPOSITION TO
             PLAINTIFF'S EMERGENCY APPLICATION FOR EX PARTE APPOINTMENT OF
             RECEIVER
  02/04/2015 FILE STAMP 02/03/15, DEFENDANTS' MOTION TO DISSOLVE THE
             TEMPORARY RESTRAINING ORDER ENTERED ON JANUARY 29, 2015
  02/04/2015 FILE STAMP 02/03/15, MEMORANDUM IN SUPPORT OF DEFENDANTS'
             MOTION TO DISSOLVE THE TEMPORARY RESTRAINING ORDER ENTERED
             ON JANUARY 29, 2015
  02/05/2015 FILE STAMP 02/05/15, DEFENDANTS' MOTION TO JOIN INDISPENSABLE
             PARTIES
  02/05/2015 FILE STAMP 02/05/15, MEMORANDUM IN SUPPORT OF DEFENDANTS'
https://jococourts.org/securepublic/civroaprn.aspx?SORT=ASC                                                1/18
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             MOTION TO JOIN INDISPENSABLE PARTIES
  02/05/2015 FILE STAMP 02/05/15, DEFENDANTS' MOTION FOR APPOINTMENT OF
             INDEPENDENT COUNSEL FOR CROWD SHOUT, LTD.
  02/05/2015 FILE STAMP 02/05/15, MEMORANDUM IN SUPPORT OF DEFENDANTS'
             MOTION FOR APPOINTMENT OF INDEPENDENT COUNSEL FOR CROWD
             SHOUT, LTD.
  02/05/2015 FILE STAMP 02/05/15, MEMORANDUM IN SUPPORT OF PLAINTIFF'S
             APPLICATION FOR EMERGENCY APPOINTMENT OF RECEIVER
  02/06/2015 <******* Bench Notes *********>
             PLF APPEARS BY KRAFT, DEF APPEARS BY COLANTUONO. COURT
             DOESN'T FIND IRREPARABLE HARM BECAUSE ADEQUATE REMEDIES ARE
             AVAILABLE. NEITHER RECEIVER OR TRO ISSUED. EACH ORDER TO
             PROVIDE COMPLETE FINANCIAL REPORTS FROM 1/1/15 FORWARD - DUE
             BY THE 10TH OF THE FOLLOWING MONTH.(RPTR: HEARN)(JUDGE:
             MORIARTY)
  02/12/2015 FILE STAMP 02/12/15, NOTICE OF SERVICE
  02/13/2015 FILE STAMP 02/13/15, NOTICE OF SERVICE
  02/18/2015 FILE STAMP 02/17/15, APPLICATION AND ORDER FOR CLERK'S EXTENSION
             OF TIME
  03/02/2015 FILE STAMP 02/27/15, PLAINTIFF'S MEMORANDUM IN OPPOSITION TO
             DEFENDANTS' MOTION TO JOIN NECESSARY PARTIES
  03/05/2015 FILE STAMP 03/04/15, DEFENDANTS' PARTIAL MOTION TO DISMISS COUNTS
             III, VI AND VII
  03/05/2015 FILE STAMP 03/04/15, MEMORANDUM IN SUPPORT OF DEFENDANTS'
             PARTIAL MOTION TO DISMISS COUTS III, VI AND VII
  03/05/2015 FILE STAMP 03/04/15, DEFENDANT GABRIEL MURPHY'S ANSWER,
             AFFIRMATIVE DEFENSES AND COUNTERCLAIMS
  03/05/2015 FILE STAMP 03/04/15, DEFENDANT WESTMARK CAPITAL, LLC'S ANSWER,
             AFFIRMATIVE DEFENSES AND COUNTERCLAIMS
  03/18/2015 FILE STAMP 03/18/15, DEFENDANTS' MOTION TO JOIN PARTIES PURSUANT
             TO KSA 60-1712
  03/18/2015 FILE STAMP 03/18/15, MEMORANDUM IN SUPPORT OF DEFENDANTS'
             MOTION TO JOIN PARTIES PURSUANT TO KSA 60-1712
  04/02/2015 FILE STAMP 04/01/15, CERTIFICATE OF SERVICE
  04/03/2015 SCHED. MOTION on 05/26/15,01:30pm,Div 11
  04/06/2015 FILE STAMP 04/03/15, MOTION TO DISMISS DEFENDANT WESTMARK
             CAPITAL, LLC'S COUNTERCLAIMS
  04/06/2015 FILE STAMP 04/03/15, MEMORANDUM IN SUPPORT OF PLAINTIFF'S MOTION
             TO DISMISS DEFENDANT WESTMARK CAPITAL, LLC'S COUNTERCLAIMS
  04/06/2015 FILE STAMP 04/03/15, MOTION TO DISMISS DEFENDANT GABRIEL
             MURPHY'S COUNTERCLAIMS
  04/06/2015 FILE STAMP 04/03/15, MEMORANDUM IN SUPPORT OF PLAINTIFF'S MOTION
             TO DISMISS DEFENDANT GABRIEL MURPHY'S COUNTERCLAIMS
  04/06/2015 FILE STAMP 04/06/15, PLAINTIFF'S ANSWER TO DEFENDANT GABRIEL
             MURPHY'S COUNTERCLAIMS
  04/06/2015 FILE STAMP 04/06/15, PLAINTIFF'S ANSWER TO DEFENDANT WESTMARK
             CAPITAL, LLC'S COUNTERCLAIMS
  04/07/2015 FILE STAMP 04/07/15, PLAINTIFF'S RESPONSE TO DEFENDANTS' PARTIAL
             MOTION TO DISMISS COUNTER III, VI, & VII
https://jococourts.org/securepublic/civroaprn.aspx?SORT=ASC                             2/18
9/25/2017         Case 2:17-bk-07843-FMD Doc        8 HISTORY
                                             Civil CASE Filed 09/28/17
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  04/07/2015 FILE STAMP 04/07/15, PLAINTIFF'S RESPONSE IN OPPOSITION TO
             DEFENDANTS' MOTION TO APPOINT INDEPENDENT COUNSEL FOR CROWD
             SHOUT, LTD
  04/08/2015 FILE STAMP 04/07/15, NOTICE OF INTENT TO REQUEST ISSUANCE OF
             SUBPOENA DUCES TECUM
  04/08/2015 FILE STAMP 04/07/15, NOTICE OF INTENT TO REQUEST ISSUANCE OF
             SUBPOENA DUCES TECUM
  04/13/2015 FILE STAMP 04/13/15, PLAINTIFF'S SECOND EMERGENCY APPLICATION FOR
             APPOINTMENT OF RECEIVER
  04/13/2015 FILE STAMP 04/13/15, MEMORANDUM IN SUPPORT OF PLAINTIFF'S SECOND
             EMERGENCY APPLICATION FOR APPOINTMENT OF RECEIVER
  04/13/2015 SCHED. MOTION on 04/21/15,02:15pm,Div 11
  04/14/2015 FILE STAMP 04/14/15, NOTICE OF INTENT TO REQUEST OF SUBPOENA
             DUCES TECUM
  04/16/2015 FILE STAMP 04/16/15, DEFENDANTS' OBJECTIONS AND MOTION TO QUASH
             OR MODIFY SUBPOENA DUCES TECUM FOR SCOTT BEHRMAN CPA
  04/16/2015 FILE STAMP 04/16/15, DEFENDANTS' MEMORANDUM IN OPPOSITION TO
             PLAINTIFF'S SECOND EMERGENCY APPLICATION FOR APPOINTMENT OF
             RECEIVER
  04/21/2015 FILE STAMP 04/20/15, REPLY IN SUPPORT OF PLAINTIFF'S SECOND
             EMERGENCY APPLICATION FOR APPOINTMENT OF RECEIVER
  04/21/2015 FILE STAMP 04/21/15, MOTION FOR LEAVE TO WITHDRAW
  04/21/2015 RESCHED. MOTION on 04/30/15,04:00pm,Div 11, COLUNTUANO
             WITHDRAWING AND REQUEST CONTINUANCE OF HEARING-PLAINTIFF
             DOES NOT OBJECT
  04/21/2015 <******* Bench Notes *********>
             MOTION TO WTIHDRAW: PLAINTIFF APPEARS BY ERIC KRAFT.
             DEFENDANT WESTMARK AND GABRIEL MURPHY APPEAR IN PERSON AND
             WITH JOSEPH COLANTUANO. MOTION TO WITHDRAW BY DEFENDANTS
             ATTORNEY GRANTED. DEFENDANTS' COUNSEL TO SUBMIT THROUGH E-
             QUE AN ORDER FOR COURTS APPROVAL.(TAPE: NONE)(JUDGE: GURNEY)
  04/22/2015 FILE STAMP 04/22/15, SUBPOENA DUCES TECUM (TECHBIZ ADVISORS, LLC)
  04/22/2015 FILE STAMP 04/22/15 11:58am, REQUEST AND SERVICE INSTRUCTION FORM
  04/22/2015 SUBPOENA ISSUED TO ATTORNEY FOR PROCESS SERVER "TECHBIZ
             ADVISORS, LLC" E/S
  04/23/2015 FILE STAMP 04/23/15, ORDER PERMITTING WITHDRAWAL AND NOTICE OF
             HEARING
  04/23/2015 Removed: Defense Attorney KEPPLER, ISAAC DAVID Removed: Defense Attorney
             TRACY, KATHERINE I Removed: Defense Attorney COLANTUONO, JOSEPH R
  04/23/2015 Removed: Defense Attorney MENAGER, JEAN BERNARD
  04/27/2015 FILE STAMP 04/25/15, NOTICE OF INTENT TO REQUEST ISSUANCE OF
             SUBPOENA DUCES TECUM
  04/27/2015 FILE STAMP 04/25/15, NOTICE OF INTENT TO REQUEST ISSUANCE OF
             SUBPOENA DUCES TECUM
  04/28/2015 FILE STAMP 04/27/15, MOTION TO COMPEL DISCOVERY FROM
             DEFENDANTS AND MEMORANDUM IN SUPPORT THEREOF
  04/28/2015 FILE STAMP 04/28/15, MOTION TO OVERRULE OBJECTIONS AND DEEM
             REQUESTS FOR ADMISSION ADMITTED AND MEMORANDUM IN SUPPORT
             THEREOF
https://jococourts.org/securepublic/civroaprn.aspx?SORT=ASC                             3/18
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  04/29/2015 FILE STAMP 04/28/15, NOTICE OF SERVICE
  04/29/2015 FILE STAMP 04/29/15, MOTION TO INTERVENE BY GCM HOLDINGS LTD.
  04/30/2015 FILE STAMP 4/28/2015, DEFENDANTS' OBJECTION AND MOTION TO QUASH
             OR MODIFY SUBPOENA DUCES TECUM FOR WELLS FARGO BANK. N.A.
  04/30/2015 FILE STAMP 4/28/2015, DECLARATION OF GABRIEL MURPHY PURSUANT TO
             K.S.A. 53-601
  04/30/2015 <******* Bench Notes *********>
             MOTIONS: PLAINTIFF APPEARS BY ERIC KRAFT. DEFENDANT MURPHY
             APPEARS IN PERSON PRO SE. CHRIS PICKERING APPEARS FOR ATTORNEY
             FOR GCM HOLDINGS. HEARING ON MOTION TO INTERVENE - GRANTED
             REGARDING RECEIVERSHIP HEARING. HEARING ON SECOND REQUEST TO
             APPOINT RECEIVER: MOTION DENIED. PARTIES MAY REVISIT ISSUE IF
             NECESSARY AND ALTERNATIVE REMEDIES ARE NOT SUCCESSFUL.(RPTR:
             GARDNER)(JUDGE: GURNEY)
  04/30/2015 FILE STAMP 04/30/15, PLAINTIFF'S RESPONSE OPPOSING DEFENDANTS'
             OBJECTIONS AND MOTION TO QUASH OR MODIFY SUBPOENA DUCES
             TECUM FOR WELLS FARGO BANK, N.A.
  05/01/2015 SCHED. MOTION on 05/26/15,09:00am,Div 11
  05/01/2015 <******* Bench Notes *********>
             HEARING SET FOR 052615 AT 9:00 A.M. WILL BE HEARING ON DOCUMENTS
             40, 49, 50 AND 53.(TAPE: NONE)
  05/01/2015 FILE STAMP 05/01/15, RETURN OF SERVICE (SERVED TECHBIZ ADVISORS
             LLC ON 4/30/15)
  05/06/2015 FILE STAMP 5/4/2015, NOTICE OF VIDEO - TAPED DEPOSITION PER K.S.A..
             60-230(B) (6)
  05/06/2015 FILE STAMP 05/06/15, PLAINTIFF'S MOTION TO QUASH DEFENDANT'S
             NOTICE OF VIDEO-TAPED DEPOSITION PER K.S.A. 60-230(B)(6) AND
             MEMORANDUM IN SUPPORT THEREOF
  05/07/2015 CANCELLED MOTION on 05/26/15,01:30pm,Div 11
  05/07/2015 RESCHED. MOTION on 05/26/15,09:00am,Div 11, LENGTH OF HEARING HAS
             CHANGED
  05/07/2015 SCHED. CONFERENCE CALL on 05/07/15,03:30pm,Div 11
  05/07/2015 <******* Bench Notes *********>
             CONFERENCE CALL: PLAINTIFF APPEARS BY ERIC KRAFT. DEFENDANT
             MURPHY APPEARS PRO SE. GCM HOLDING APPEARS BY CHRIS PICKERING
             (IN PERSON). HEARING ON MOTION FOR PROTECTIVE ORDER
             PRECLUDING CORPORATE REP DEPO SCHEDULED FOR NEXT WEEK. DEPO
             NOTICED UP WITHOUT CONFERRING WITH COUNSEL, WHO ARE
             UNAVAILABLE. ADDITIONALLY, 80 TOPICS HAVE BEEN DESIGNATED AND
             REASONABLE TIME NEEDS TO BE AFFORDED TO ALLOW FOR
             PREPARATION OF DEPOSITION. PARTIES TO CONFER REGARDING FUTURE
             DATE TO ACCOMPLISH. VIDEO CONFERENCING FORMAT TO BE
             CONSIDERED FOR MALTA DEPONENTS. COURT GRANTS PROTECTIVE
             ORDER.(TAPE: NONE)(JUDGE: GURNEY)
  05/08/2015 FILE STAMP 05/07/15, SECOND MOTION TO INTERVENE BY GCM HOLDINGS
             LTD
  05/08/2015 FILE STAMP 05/08/15, NOTICE OF RETURNED MAIL
  05/12/2015 FILE STAMP 05/12/15, SUBPOENA DUCES TECUM (RYAN ELLEDGE)
  05/12/2015 FILE STAMP 05/12/15 09:56am, REQUEST AND SERVICE INSTRUCTION FORM
  05/12/2015 SUBPOENA ISSUED TO ATTORNEY FOR PROCESS SERVER "RYAN ELLEDGE"
https://jococourts.org/securepublic/civroaprn.aspx?SORT=ASC                             4/18
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             E/S
  05/12/2015 FILE STAMP 05/12/15, SUBPOENA DUCES TECUM (KURT BREUCKMANN)
  05/12/2015 FILE STAMP 05/12/15 09:58am, REQUEST AND SERVICE INSTRUCTION FORM
  05/12/2015 SUBPOENA ISSUED TO ATTORNEY FOR PROCESS SERVER "KURT
             BREUCKMANN" E/S
  05/15/2015 FILE STAMP 05/15/15, PLAINTIFF'S RESPONSE OPPOSING DEFENDANTS'
             MOTION TO JOIN PARTIES PURSUANT TO KSA 60-1712
  05/15/2015 FILE STAMP 05/15/15, NOTICE OF HEARING
  05/18/2015 FILE STAMP 05/15/15, AMENDED NOTICE OF HEARING
  05/19/2015 FILE STAMP 05/19/15, PLAINTIFF'S MOTION FOR AN ORDER TO HAVE
             GABRIEL MURPHY APPEAR AND SHOW CAUSE WHY HE SHOULD NOT BE
             HELD IN CONTEMPT OF COURT AND MEMORANDUM IN SUPPORT
             THEREOF
  05/22/2015 ELECTRONIC ENTRY OF APPEARANCE BY WILLIAM M MODRCIN AS A
             DEFENSE ATTORNEY FOR WESTMARK CAPITAL LLC; GABRIEL MURPHY
  05/22/2015 FILE STAMP 05/22/15, PLAINTIFF'S RESPONSE OPPOSING SECOND MOTION
             TO INTERVENE BY GCM HOLDING LTD.
  05/26/2015 <******* Bench Notes *********>
             HEARING ON PENDING MOTIONS TO JOIN PARTIES AND TO DISMISS:
             PLAINTIFF APPEARS BY ERIC KRAFT. DEFENDANTS WESTMARK AND
             MURPHY APPEAR WITH BILL MODRCIN. INTERVENOR GCM APPEARS BY
             CHRIS PICKERING. COURT WILL REVIEW MATTER AND PROVIDE RULINGS
             ON NEXT HEARING DATE OF 060815 AT 1:30 PM. PARTIES WILL CONFER
             REGARDING CURRENT DISCOVERY DISPUTES. BRIEFS ON JURISDICTION
             ISSUES DUE BY 060515. WESTMARK COUNSEL ADVISES OF INTENT TO
             REINSTATE WESTMARK CAPITAL LLC. COURT ORDERS THAT TO BE
             ACCOMPLISHED BY 062615 OTHERWISE COURT WILL CONSIDER MOTION
             TO DISMISS ON GROUNDS THAT BUSINESS NO LONGER A VIABLE ENTITY
             TO BRING COUNTERCLAIMS.(RPTR: GARDNER)(JUDGE: GURNEY)
  05/26/2015 SCHED. RULING on 06/08/15,01:30pm,Div 11
  06/05/2015 FILE STAMP 06/05/15, INTERVENORS BRIEF RE: JURISDICTION/CHOICE OF
             LAW AND STANDING
  06/05/2015 FILE STAMP 06/05/15, MEMORANDUM ON JURISDICTION/JOINDER
  06/08/2015 FILE STAMP 06/05/15, PLAINTIFF'S SUPPLEMENTAL BRIEF ON
             JURISDICTIONAL QUESTIONS RELATING TO PLAINTIFF'S MOTION TO
             DISMISS DEFENDANT MURPHY'S COUNTERCLAIMS DEFENDANT'S
             MOTIONS TO JOIN PARTIES, AND GCM HOLDINGS, LTD'S SECOND MOTION
             TO INTERVENE
  06/08/2015 <******* Bench Notes *********>
             HEARING ON PENDING MOTIONS: PLAINTIFF APPEARS BY ERICK KRAFT.
             DEFENDANTS GABRIEL MURPHY AND WESTMARK APPEAR BY BILL
             MODRCIN. INTERVENOR GCM APPEARS BY CHRIS PICKERING. COURT
             ORDERS PLAINTIFF TO PRODUCE 30(B)(6) CORPORATE REP FOR
             DEPOSITION IN KC METRO AREA. PROTECTIVE ORDER GRANTED SO THAT
             CORPORATE REP WILL NOT BE SUBJECTED TO SERVICE TO ESTABLISH
             JURISDICTION; BANK ACCOUNT INFORMATION ORDERED PRODUCED BY
             DEFENDANTS; LOG INS AND PASSWORDS TO BE EXCHANGED AS PER
             JUDGE MORIARTY'S PRIOR TRO. NO ONE SHALL CHANGE PASSWORDS OR
             LOG IN INFORMATION WITHOUT CONSULTATION AND AGREEMENT
             BETWEEN BOTH PARTIES. CHANGING OF PASSWORDS/LOG INS

https://jococourts.org/securepublic/civroaprn.aspx?SORT=ASC                                                5/18
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             UNILATERALLY, WITHOUT CONSULTATION WILL SUBJECT A PARTY TO A
             FINDING OF CONTEMPT.(RPTR: GARDNER)(JUDGE: GURNEY)
  06/09/2015 FILE STAMP 06/08/15, NOTICE
  06/12/2015 FILE STAMP 06/11/15, SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO
             PLAINTIFF'S MOTION TO DISMISS THE CLAIMS OF DEFENDANT
             WESTMARK CAPITAL, LLC
  06/15/2015 FILE STAMP 06/12/15, NOTICE OF INTENT TO REQUEST ISSUANCE OF
             SUBPOENAS DUCES TECUM
  06/15/2015 FILE STAMP 06/15/15, NOTICE OF SERVICE
  06/17/2015 SCHED. OTHER HEARING on 07/01/15,09:00am,Div 11
  06/17/2015 <******* Bench Notes *********>
             HEARING ON 070115 IS TO SETTLE JOURNAL ENTRY.(TAPE: NONE)
  06/18/2015 FILE STAMP 06/17/15, PARTIAL TRANSCRIPT OF PROCEEDINGS, ON 6/8/15 ,
             BY DENISE M. GARDNER, CSR, RPR
  06/29/2015 FILE STAMP 06/26/15, OBJECTIONS TO ISSUANCE OF SUBPOENA DUCES
             TECUM
  07/01/2015 <******* Bench Notes *********>
             HEARING TO FINALIZE JOURNAL ENTRY: PLAINTIFF APPEARS BY ERIC
             KRAFT. DEFENDANTS WESTMARK AND MURPHY APPEAR BY BILL
             MODRCIN. REQUESTED PARTY INTERVENOR APPEARS BY CHRIS
             PICKERING. COURT APPROVES DEFENDANT'S SUBMISSION WITH TWO
             MODIFICATIONS - DIRECTS COUNSEL TO SUBMIT TO E-QUEUE.
             PROTECTIVE ORDER MUST BE ENTERED BEFORE RECORDS PRODUCED.
             COURT DIRECTS THAT RECORDS IN ATTORNEYS' POSSESSION WILL NEED
             TO BE DESTROYED FOLLOWING CONCLUSION OF CASE. IF ANY
             OBJECTIONS REMAIN TO REVISED SUBPOENAES, DEFENDANT MUST
             ASSERT SUCH OBJECTIONS AND IF THE PARTIES ARE UNABLE TO
             RESOLVE THE DISPUTE, A MOTION AND HEARING SHOULD BE
             SCHEDULED WITH THE COURT.(RPTR: GARDNER)(JUDGE: GURNEY)
  07/02/2015 FILE STAMP 07/02/15, JOURNAL ENTRY
  07/13/2015 FILE STAMP 07/13/15, STIPULATED PROTECTIVE ORDER
  07/15/2015 FILE STAMP 07/14/15, NOTICE OF SERVICE
  07/15/2015 FILE STAMP 07/14/15, NOTICE OF VIDEO-TAPED DEPOSITION PER KSA 60-
             230(B)(6)
  07/15/2015 FILE STAMP 07/15/15, MOTION FOR ORDER TO SHOW CAUSE
  07/15/2015 FILE STAMP 07/15/15, AMENDED NOTICE OF SERVICE
  07/15/2015 FILE STAMP 07/15/15, AMENDED NOTICE OF VIDEO-TAPED DEPOSITION PER
             KSA 60-230(B)(6)
  07/16/2015 FILE STAMP 07/15/15, THIRD MOTION TO INTERVENE IN THE DEPOSITIONS
             SCHEDULED IN THIS MATTER BY GCM HOLDINGS LTD.
  07/17/2015 FILE STAMP 07/16/15, PLAINTIFF'S RESPONSE OPPOSING SECOND MOTION
             TO INTERVENE BY GCM HOLDING LTD
  07/17/2015 FILE STAMP 07/17/15, JOINDER IN THE MOTION OF GCM HOLDINGS, INC. TO
             HOLD PLAINTIFF IN CONTEMPT
  07/17/2015 SHERIFF FEE $15.00; PAID BY ERIC G KRAFT, RECEIPTED AMOUNT $15.00, E-
             PAYMENT NO: 62383062
  07/17/2015 FILE STAMP 07/17/15, SUBPOENA DUCES TECUM
  07/17/2015 FILE STAMP 07/17/15 11:07am, REQUEST AND SERVICE INSTRUCTION FORM
  07/17/2015 SUBPOENA ISSUED TO THE SHERIFF OF JO CO KS "WELLS FARGO BANK,
https://jococourts.org/securepublic/civroaprn.aspx?SORT=ASC                             6/18
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             N.A."
  07/17/2015 SHERIFF FEE $15.00; PAID BY ERIC G KRAFT, RECEIPTED AMOUNT $15.00, E-
             PAYMENT NO: 62383541
  07/17/2015 FILE STAMP 07/17/15, SUBPOENA DUCES TECUM (SCOTT BEHRMAN)
  07/17/2015 FILE STAMP 07/17/15 11:12am, REQUEST AND SERVICE INSTRUCTION FORM
  07/17/2015 SUBPOENA ISSUED TO THE SHERIFF OF JO CO KS "SCOTT BEHRMAN"
  07/20/2015 FILE STAMP 07/20/2015, SHERIFF RETURN JO CO KS, SUBPOENA AND
             EXHIBITS SERVED WELLS FARGO BANK, N.A. 07/20/2015 E/S
  07/20/2015 FILE STAMP 07/20/2015, SHERIFF RETURN JO CO KS, SUBPOENA NO
             SERVICE SCOTT BEHRMAN 07/20/2015 E/S
  07/21/2015 FILE STAMP 07/20/15, NOTICE TO TAKE DEPOSITION
  07/23/2015 FILE STAMP 07/23/15, NOTICE OF INTENT TO REQUEST ISSUANCE OF
             SUBPOENA DUCES TECUM
  07/24/2015 FILE STAMP 07/23/15, PLAINTIFF'S RESPONSE OPPOSING PROPOSED
             INTERVENOR'S MOTION TO SHOW CAUSE
  07/24/2015 FILE STAMP 07/24/15, SUBPOENA DUCES TECUM
  07/24/2015 FILE STAMP 07/24/15 03:56pm, REQUEST AND SERVICE INSTRUCTION FORM
  07/24/2015 SUBPOENA ISSUED TO ATTORNEY FOR CERTIFIED MAIL "VOXA, LLC C/O
             JAMES NEELD, REGISTERED AGENT" E/S
  07/28/2015 FILE STAMP 07/28/15, NOTICE OF SERVICE
  07/30/2015 FILE STAMP 07/30/15, AFIDAVIT IN SUPPORT OF MOTION FOR ORDER TO
             SHOW CAUSE
  08/04/2015 FILE STAMP 08/03/15, ADDITIONAL SUGGESTIONS IN SUPPORT OF
             INTERVENOR'S SECOND MOTION TO INTERVENE
  08/06/2015 FILE STAMP 08/05/15, PLAINTIFF'S RESPONSE TO PROPOSED INTERVENOR'S
             ADDITIONAL SUGGESTIONS IN SUPPORT OF ITS SECOND MOTION TO
             INTERVENE
  08/07/2015 FILE STAMP 08/06/15, FURTHER SUGGESTIONS IN SUPPORT OF
             INTERVENOR'S SECOND MOTION TO INTERVENE
  08/07/2015 SHERIFF FEE $15.00; PAID BY ERIC G KRAFT, RECEIPTED AMOUNT $15.00, E-
             PAYMENT NO: 62737780
  08/07/2015 FILE STAMP 08/06/15, SUBPOENA DUCES TECUM
  08/07/2015 FILE STAMP 08/06/15 02:59pm, REQUEST AND SERVICE INSTRUCTION FORM
  08/07/2015 SUBPOENA ISSUED TO THE SHERIFF OF JO CO KS "SCOTT BEHRMAN"
  08/11/2015 FILE STAMP 08/11/15, PLAINTIFF'S OBJECTIONS TO TOPICS LISTED IN
             DEFENDANTS AMENDED NOTICE OF VIDEO-TAPED DEPOSITION PER K.S.A.
             60-230 (B) (6)
  08/18/2015 FILE STAMP 08/17/15, AFFIDAVIT OF CUSTODIAN OF BUSINESS RECORDS
  08/19/2015 FILE STAMP 08/18/15, PLAINTIFF'S SUPPLEMENTAL RESPONSE OPPOSING
             SECOND MOTION TO INTERVENE BY GCM HOLDING LTD.
  08/19/2015 FILE STAMP 08/18/15, AMENDED NOTICE TO TAKE DEPOSITION
  08/19/2015 FILE STAMP 08/19/15, AMENDED SUBPOENA DUCES TECUM (VOXA LLC)
  08/25/2015 SCHED. CONFERENCE CALL on 08/25/15,03:30pm,Div 11
  08/25/2015 <******* Bench Notes *********>
             CONFERENCE CALL: PLAINTIFF APPEARS BY ERIC KRAFT. DEFENDANTS
             WESTMARK AND MURPHY APPEAR BY BILL MODRICIN. INTERVENOR
             GCM APPEARS BY CHRIS PICKERING. TELEPHONE CONFERENCE RE: MR.
             PICKERING'S REQUEST TO ATTEND DEPOSITION OF CORPORATE
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             REPRESENTATIVE OF VOXA AND INQUIRE OF REPRESENTATIVE. MR.
             KRAFT OPPOSES THIS REQUEST. COURT WILL ALLOW ATTENDANCE AND
             PARTICIPATION BY MR. PICKERING.(TAPE: NONE)(JUDGE: GURNEY)
  08/27/2015 FILE STAMP 08/27/15, CERTIFICATE OF MAILING/SERVICE
  08/27/2015 FILE STAMP 08/27/15, PLAINTIFF'S MOTION FOR ADDTIONAL TIME TO
             RESPOND AND OBJECT TO DEFENDANT'S FIRST REQUESTS FOR
             PRODUCTION AND MEMOMANDUM IN SUPPORT THEREOF
  09/03/2015 FILE STAMP 09/02/15, PLAINTIFF'S MOTION FOR PROTECTIVE ORDER
             PERTAINING TO DEPOSITION OF CROWD SHOUT LTD.'S CORPORATE
             REPRESENTATIVE AND MEMORANDUM IN SUPPORT THEREOF
  09/03/2015 FILE STAMP 09/03/15, DECISION ON MOTIONS TO DISMISS
             COUNTERCLAIMS AND TO JOIN ADDITIONAL PARTIES
  09/04/2015 Plaintiff GCM HOLDINGS LTD added on 09/04/15
  09/04/2015 FILE STAMP 09/04/2015, SHERIFF RETURN JO CO KS, SUBPOENA AND
             EXHIBITS SERVED SCOTT BEHRMAN 08/12/2015 E/S
  09/08/2015 Plaintiff TECHBIZ added on 09/08/15
  09/08/2015 Plaintiff MR PERKS added on 09/08/15
  09/08/2015 Plaintiff I-CAP added on 09/08/15
  09/08/2015 Defendant CROWD SHOUT HOLDINGS LTD added on 09/08/15
  09/08/2015 ELECTRONIC ENTRY OF APPEARANCE BY MICHELLE M SUTER AS A
             DEFENSE ATTORNEY FOR CROWD SHOUT HOLDINGS LTD
  09/09/2015 FILE STAMP 09/08/15, ENTRY OF APPEARANCE
  09/18/2015 FILE STAMP 09/16/15, JOINT MOTION FOR EXTENSION OF TIME
  09/28/2015 ELECTRONIC ENTRY OF APPEARANCE BY ADAM J GASPER AS A
             PLAINTIFF ATTORNEY FOR CROWD SHOUT LTD
  09/28/2015 FILE STAMP 09/28/15, MEMORANDUM IN SUPPORT OF VERIFIED MOTION
             TO ENFORCE THE COURT'S ORDER, RESTORE DOMAIN NAME AND FOR
             TEMPORARY INJUNCTION
  09/28/2015 FILE STAMP 09/28/15, VERIFIED MOTION TO ENFORCE THE COURT'S ORDER,
             RESTORE DOMAIN NAME AND FOR TEMPORARY INJUNCTION
  10/01/2015 FILE STAMP 09/30/15, MOTION FOR EXTENSION OF TIME TO RESPOND TO
             DEFENDANT'S FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS
  10/08/2015 FILE STAMP 10/07/15, NOTICE OF HEARING
  10/08/2015 SCHED. CONFERENCE CALL on 10/13/15,08:30am,Div 11
  10/13/2015 <******* Bench Notes *********>
             CONFERENCE CALL: PLAINTIFF APPEARS BY ADAM GASPER AND GREG
             SPIES. DEFENDANTS WESTMARK AND MURPHY APPEAR BY BILL
             MODRICIN. DEFENDANT CROWD SHOUT HOLDINGS APPEAR BY MICHELLE
             SUTER. INTERVENOR GCM APPEARS BY CHRIS PICKERING. TELEPHONE
             CONFERENCE REGARDING DISPUTE ON CHANGES TO WEBSITE. HEARING
             SET FOR 102315. PARTIES MUST CONFER BEFORE HEARING TO ATTEMPT
             RESOLUTION OF PRESENT DISPUTE.(TAPE: NONE)(JUDGE: GURNEY)
  10/13/2015 SCHED. OTHER HEARING on 10/23/15,01:30pm,Div 11
  10/15/2015 FILE STAMP 10/13/15, AMENDED NOTICE OF HEARING SET FOR OCTOBER
             23, 2015 @ 1:30PM IN DIVISION 11
  10/21/2015 FILE STAMP 10/20/15, CROSS NOTICE OF HEARING
  10/22/2015 FILE STAMP 10/22/15, GCM HOLDINGS LTD RESPONSE TO PLAINTIFF'S
             MOTION TO ENFORCE OR FOR INJUNCTIVE RELIEF

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  10/23/2015 <******* Bench Notes *********>
             HEARING ON MOTION TO ENFORCE AND FOR INJUNCTION: PLAINTIFF
             APPEARS BY GREG SPIES AND ADAM GASPER. DEFENDANT CROWD
             SHOUT HOLDINGS APPEARS BY MICHELLE SUTER. DEFENDANTS
             WESTMARK CAPITAL AND GABRIEL MURPHY APPEAR WITH BILL
             MODRCIN. INTERVENOR GMC HOLDINGS APPEARS BY CHRISTOPHER
             PICKERING. AFTER CONFERRING WITH COUNSEL, PARTIES AGREED UPON
             PROPOSAL TO ADDRESS ONGOING TECHNICAL ISSUES WITH WEBSITE.
             MR. MURPHY AND MR. GAUGLER WILL WORK ON ADDRESSING ANY
             ONGOING NEEDS ASSOCIATED WITH WEBSITE AND IF UNABLE TO BOTH
             AGREE ON RESOLUTION, A THIRD PARTY SCO INDIVIDUAL AS AGREED
             UPON BY THE PARTIES WILL DECIDE HOW ANY DISPUTE WILL BE
             HANDLED. WITH RESPECT TO ITEMS RAISED BY PLAINTIFF IN ITS
             MOTION, INCLUDING REVERTING BACK TO PRIOR NAME SERVERS, BOTH
             MR. MURPHY AND MR. GAUGLER TO WORK TOWARD RESOLVING. IF
             UNABLE TO RESOLVE, THIRD PARTY SCO WILL DECIDE. PARTIES TO
             SELECT AND AGREE UPON THIRD PARTY SCO AND PREPARE AN ORDER
             DESIGNATING TASKS AND COMPENSATION. WEBSITE PROCEEDS TO
             REMAIN IN PLACE AND SHALL NOT BE DISTRIBUTED ABSENT FURTHER
             COURT ORDER OR AGREEMENT BY PARTIES. MR. SPIES TO PREPARE A
             JOURNAL ENTRY.(RPTR: HEARN)(JUDGE: GURNEY)
  10/23/2015 FILE STAMP 10/22/15, MOTION TO SEAL COURT RECORDS AND FOR
             PROTECTIVE ORDER
  10/23/2015 FILE STAMP 10/22/15, RESPONSE BY CROWD SHOUT HOLDINGS, LTD, TO
             CROWD SHOUT LTD'S MOTION TO ENFORCE OR FOR INJUNCTIVE RELIEF
  10/26/2015 FILE STAMP 10/23/15, DEFENDANTS' WESTMARK CAPITAL LLC AND
             GABRIEL MURPHY, MEMORANDUM IN OPPOSITION TO PLAINTIFF'S
             MOTION FOR INJUNCTIVE RELIEF
  10/29/2015 FILE STAMP 10/28/15, NOTICE TO TAKE DEPOSITION
  10/29/2015 FILE STAMP 10/28/15, SUBPOENA (CORY LAGERSTROM)
  11/04/2015 FILE STAMP 11/04/15, WITHDRAWAL OF COUNSEL AND ENTRY OF
             APPEARANCE OF SUBSTITUTED COUNSEL
  11/04/2015 Removed: Plaintiff Attorney KRAFT, ERIC G
  11/06/2015 FILE STAMP 11/05/15, CERTIFICATE OF COMPLIANCE
  11/06/2015 FILE STAMP 11/05/15, DEFENDANT GABRIEL MURPHY'S MOTION TO
             COMPEL DISCOVERY WITH MEMORANDUM IN SUPPORT
  11/24/2015 FILE STAMP 11/23/15, PLAINTIFF'S OPPOSITION TO DEFENDANT'S MOITON
             TO COMPEL DISCOVERY
  12/09/2015 FILE STAMP 12/09/15, GCM HOLDINGS LTD. MOTION TO ENFORCE
  12/09/2015 Plaintiff CROWD SHOUT HOLDINGS LTD. added on 12/09/15
  12/09/2015 Plaintiff Attorney SUTER, MICHELLE M assigned on 12/09/15
  12/09/2015 FILE STAMP 12/09/15, CROSS CLAIM PETITION
  12/10/2015 FILE STAMP 12/10/15, GCM HOLDINGS LTD. SECOND MOTION TO ENFORCE
  12/10/2015 FILE STAMP 12/10/15, THIRD DECLARATION OF GABRIEL CRAIG MURPHY
             PURSUANT TO K.S.A. 53-601
  12/16/2015 FILE STAMP 12/16/15, PLAINTIFF'S OPPOSITION TO DEFENDANT GCM
             HOLDINGS LTD'S MOTION TO ENFORCE
  12/16/2015 FILE STAMP 12/16/15, AFFIDAVIT OF NICHOLAS GAUGLER
  12/17/2015 FILE STAMP 12/16/15, PLAINTIFF'S OPPOSITION TO DEFENDANT GCM
             HOLDINGS LTD'S SECOND MOTION TO ENFORCE
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  12/21/2015 FILE STAMP 12/21/15, PLAINTIFF'S MOTION TO COMPEL PRODUCTION OF
             BANKING AND FINANCIAL INFORMATION AND RESPONSES TO SECOND
             REQUESTS FOR PRODUCTION.
  12/21/2015 FILE STAMP 12/21/15, NOTICE OF INTENT TO ISSUE NON PARTY BUSINESS
             RECORDS SUBPOENAS
  12/22/2015 FILE STAMP 12/21/15, CERTIFICATE OF SERVICE
  12/31/2015 FILE STAMP 12/30/15, CLERK'S 14- DAY EXTENSION
  01/05/2016 FILE STAMP 01/05/16, NOTICE OF HEARING, 1-12-16 AT 4:00PM, DIV 11
  01/05/2016 SCHED. MOTION on 01/12/16,04:00pm,Div 11
  01/06/2016 FILE STAMP 01/06/16, DEFENDANT GABRIEL MURPHY'S OBJECTION TO
             PROPOSED SUBPOENAS
  01/08/2016 ELECTRONIC ENTRY OF APPEARANCE BY CHRISTOPHER F PICKERING AS
             A PLAINTIFF ATTORNEY FOR GCM HOLDINGS LTD
  01/08/2016 RESCHED. MOTION on 01/15/16,02:00pm,Div 11, ATTY FOR CROWD SHOUT
             NOT AVAILABLE ON 011216-NEW DATE AGREED BY ALL
  01/14/2016 FILE STAMP 01/13/16, MOTION FOR EXTENSION OF TIME TO RESPOND TO
             CROWD SHOUT HOLDINGS, LTD.'S CROSSCLAIM PETITION
  01/14/2016 FILE STAMP 01/13/16, MOTION FOR ISSUANCE OF SUBPOENAS
  01/15/2016 <******* Bench Notes *********>
             HEARING ON MOTIONS TO ENFORCE: PLAINTIFF APPEARS BY ADAM
             GASPER. INTERVENOR GCM HOLDING APPEARS BY CHRIS PICKERING.
             DEFENDANTS MURPHY AND WESTMARK APPEAR BY BILL MODRICIN.
             MOTION GRANTED REGARDING REQUEST TO UNDO LOCK ON GO DADDY
             HOST SITE. PARTIES DIRECTED TO AGREE ON THIRD PARTY NEUTRAL FOR
             WEBSITE TECHNICAL DISPUTES. PARTIES TO EXCHANGE FINANCIAL AND
             LOG IN AND PASSWORD ACCESS INFORMATION. MR. PICKERING TO
             DRAFT JOURNAL ENTRY.(RPTR: SETTER)(JUDGE: GURNEY)
  01/22/2016 FILE STAMP 01/20/16, CROWD SHOUT HOLDINGS, LTD'S MOTION FOR
             ADDITIONAL TIME TO ANSWER DISCOVERY
  01/22/2016 FILE STAMP 01/20/16, RESPONSE BY CROWD SHOUT HOLDINGS, LTD. TO
             CROWD SHOUT LTD'S MOTION FOR EXTENSION OF TIME TO ANSWER
             CROSSCLAIM PETITION
  01/25/2016 FILE STAMP 01/22/16, NOTICE OF SERVICE; FOR MAILING
  01/26/2016 FILE STAMP 01/25/16, MOTION FOR ORDER TO SHOW CAUSE WHY
             DEFENDANT GABRIEL MURPHY SHOULD NOT BE HELD IN CONTEMPT OF
             COURT
  01/26/2016 SCHED. MOTION on 02/16/16,09:30am,Div 11
  02/01/2016 FILE STAMP 01/29/16, CROWD SHOUT HOLDINGS, LTD'S OBJECTION TO
             PROPOSED SUBPOENAS
  02/04/2016 FILE STAMP 02/03/16, RESPONSE TO CROWD SHOUT HOLDINGS, LTD.'S
             MOTION FOR ADDITIONAL TIME TO ANSWER DISCOVERY
  02/05/2016 FILE STAMP 02/05/16, JOURNAL ENTRY- MOTIONS TO ENFORCE
  02/16/2016 FILE STAMP 02/12/16, DEFENDANT GABRIEL MURPHY'S RESPONSE IN
             OPPOSITION TO PLAINTIFF'S MOTION FOR SHOW CAUSE ORDER
  02/16/2016 FILE STAMP 02/12/16, NOTICE OF SERVICE
  02/16/2016 FILE STAMP 02/12/16, NOTICE OF SERVICE
  02/16/2016 <******* Bench Notes *********>
             HEARING ON MOTION FOR COURT APPROVAL FOR ISSUANCE OF
             SUBPOENAS BY PLAINTIFF: PLAINTIFF APPEARS BY ADAM GASPER.
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             DEFENDANT WESTMARK APPEARS BY WILLIAM MODRCIN. DEFENDANT
             MURPHY APPEARS IN PERSON AND WITH WILLIAM MODRICIN. GCM
             HOLDING APPEARS BY CHRIS PICKERING. DEFENDANT CROWD SHOUT
             HOLDINGS LTD. APPEARS BY MICHELLE SUTER. SUBPOENAS
             AUTHORIZED. WILL BE SUBJECT TO PROTECTIVE ORDER AND CAN BE
             DELIVERED TO MR. MODRCIN'S OFFICE. MOTION FOR MORE TIME TO
             EXTEND RESPONSIVE PLEADING DATE FOR PLAINTIFF TO RESPOND TO
             CROSS-CLAIM UNTIL AFTER CROWD SHOUT HOLDINGS LTD RESPONDS TO
             OUTSTANDING DISCOVERY IS DENIED. RESPONSIVE PLEADING DUE BY
             022316. CROWD SHOUT HOLDINGS LTD DISCOVERY RESPONSES DUE BY
             030416. HEARING SET FOR ANY MOTIONS ON 032116 AT 1:30 P.M. PARTIES
             TO CONFER REGARDING USE OF MASTER FOR DISCOVERY ISSUES.(RPTR:
             VANTUYL)(JUDGE: GURNEY)
  02/16/2016 SCHED. MOTION on 03/21/16,01:30pm,Div 11
  02/16/2016 FILE STAMP 02/12/16, NOTICE OF HEARING
  02/17/2016 FILE STAMP 02/16/16, NOTICE OF SERVICE OF PROPOSED JOURNAL ENTRY
             PURSUANT TO SUPREME COURT RULE 170
  02/17/2016 FILE STAMP 02/15/16, NOTICE OF SERVICE OF PROPOSED JOURNAL ENTRY
             PURSUANT TO SUPREME COURT RULE 170
  02/17/2016 FILE STAMP 02/15/16, SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR
             ISSUANCE OF SUBPOENAS
  02/17/2016 FILE STAMP 02/15/16, NOTICE OF HEARING
  02/17/2016 Defendant PERKS, KEVIN JOHN added on 02/17/16
  02/17/2016 Defendant INTEGRATED CAPABILITIES (MALTA) LTD added on 02/17/16
  02/17/2016 FILE STAMP 02/12/16, REQUEST AND SERVICE INSTRUCTION FORM
  02/17/2016 FILE STAMP 02/12/16, REQUEST AND SERVICE INSTRUCTION FORM
  02/17/2016 PETITION AND SUMMONS ISSUED TO ATTORNEY FOR CERTIFIED MAIL
             "INTEGRATED CAPABILITIES (MALTA) LTD" E/S
  02/17/2016 PETITION AND SUMMONS ISSUED TO ATTORNEY FOR CERTIFIED MAIL
             "KEVIN JOHN PERKS" E/S
  02/24/2016 FILE STAMP 02/23/16, MOTION TO DISMISS COUNTS 1 AND 11 OF CSHL'S
             PURPORTED CROSS CLAIM PETITION
  02/24/2016 FILE STAMP 02/23/16, CROWD SHOUT LTD'S ANSWER TO CSHL'S
             PURPORTED CROSS CLAIM PETITION
  02/26/2016 FILE STAMP 02/25/16, NOTICE TO RESUME VIDEO-TAPED DEPOSITION OF
             CROWD SHOUT, LTD, PER K.S.A. 60-230(B)(6)
  03/14/2016 FILE STAMP 03/13/16, MOTION TO QUASH UNILATERAL NOTICE OF 30(B)(6)
             DEPOSITION AND FOR PROTECTIVE ORDER
  03/15/2016 FILE STAMP 03/14/16, DEFENDANT'S GABRIEL MURPHY'S MOTION FOR
             DISMISSAL GIVEN PLAINTIFF'S FAILURE TO ATTEND DEPOSITION WITH
             MEMORADUM IN SUPPORT
  03/15/2016 FILE STAMP 03/14/16, CERTIFICATE OF COMPLAINCE TO DEFENDANT'S
             MOTION FOR DISMISSAL
  03/15/2016 FILE STAMP 03/14/16, DEFENDANT GABRIEL MURPHY'S MEMRANDUM IN
             OPPOSITION TO PLAINTIFF'S MOTION FOR PROTECTION ORDER
  03/17/2016 FILE STAMP 03/16/16, DEFENDANT GABRIEL MURPHY'S RESPONSE IN
             OPPOSITION TO PLAINTIFF'S MOTION TO QUASH UNILATERAL NOTICE OF
             30(B)(6) DEPOSITION AND FOR PROTECTIVE ORDER
  03/17/2016 FILE STAMP 03/16/16, NOTICE OF HEARING

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  03/17/2016 FILE STAMP 03/17/16, NOTICE OF HEARING
  03/21/2016 FILE STAMP 03/18/16, RETURN OF SERVICE, SERVED INTERGRATED
             CAPABILIES LTD, ON 3/14/16
  03/21/2016 FILE STAMP 03/18/16, RETURN OF SERVICE, SERVED KEVIN JOHN PERKS,
             ON 3/14/16
  03/21/2016 FILE STAMP 03/18/16, RETURN OF SERVICE, SERVED INTEGRATED
             CAPABILITIES LTD. 3/11/16
  03/21/2016 FILE STAMP 03/18/16, RETURN OF SERVICE, SERVED INTERNATIONAL
             FEDERAL EXPRESS 3/11/16
  03/21/2016 FILE STAMP 03/21/16, MEMORANDUM IN OPPOSITION TO MOTION TO
             DISMISS
  03/22/2016 <******* Bench Notes *********>
             HEARING ON DEFENDANT MURPHY'S MOTION TO DISMISS FOR FAILURE
             TO ATTEND DEPOSITION (DOC. 171), PLAINTIFF'S MOTION FOR
             PROTECTIVE ORDER (DOC. 114) AND MOTION TO QUASH DEPOSITION AND
             PROTECTIVE ORDER (DOC. 170). PLAINTIFF APPEARS BY ADAM GASPER.
             DEFENDANT MURPHY APPEARS IN PERSON AND WITH BILL MODRCIN.
             GMC HOLDING APPEARS BY CHRIS PICKERING. DEFENDANT CROWD
             SHOUT HOLDINGS APPEAR BY MICHELLE SUTER. DEFENDANT'S MOTION
             TO DISMISS IS DENIED. THE CORPORATE REPRESENTATIVE DEPOSITION IS
             TO BE SCHEDULED WITHIN THE NEXT 30 DAYS IF POSSIBLE WITHIN
             ATTORNEYS AND DEPONENT'S AVAILABILITY. THE DEPOSITION IS TO BE
             TAKEN IN JOHNSON COUNTY WITH DEPONENT APPEARING IN PERSON.
             THE PERSON APPEARING MAY NOT BE SERVED WITH LEGAL PROCESS AT
             THE TIME OF THEIR APPEARANCE IN THIS JURISDICTION. PLAINTIFF'S
             MOTION TO COMPEL (DOC. 142) IS GRANTED WITH RESPECT TO PAYPAL
             ACCOUNTS AND HSBC RECORDS WHICH ARE TO BE PRODUCED WITHOUT
             ANY REDACTIONS. PRODUCTION MAY BE MADE UNDER A PROTECTIVE
             ORDER. MOTION FOR ORDER TO SHOW CAUSE IS DEFERRED FOR NOW.
             PLAINTIFF MAY FILE A RENEWED MOTION SPECIFYING VIOLATIONS THAT
             HAVE OCCURRED AND REMAIN IN DISPUTE. MR. PICKERING ADVISES THE
             COURT THAT HE AND MR. GASPER WILL SECURE THE SERVICES OF A
             THIRD PARTY INDIVIDUAL TO HANDLE TECH/WEBSITE DISPUTES, AS
             PREVIOUSLY ORDERED BY THE COURT. THIS WILL BE ACCOMPLISHED
             WITHIN 2 WEEKS. PLAINTIFF'S MOTION TO DISMISS CROSS CLAIM (DOC.
             167) IS NOT ADDRESSED, AS FILING FEE IS REQUIRED BEFORE ANY SUCH
             MOTION CAN BE HEARD. THE COURT SETS A MOTION TO COMPEL BY MR.
             MODRICIN FOR HEARING ON 040716 AT 2:00 P.M. MR. GASPER TO PREPARE
             JOURNAL ENTRY.(RPTR: PFANNENSTIEL)(JUDGE: GURNEY)
  03/22/2016 SCHED. MOTION TO COMPEL on 04/07/16,02:00pm,Div 11
  04/01/2016 ELECTRONIC ENTRY OF APPEARANCE BY MICHAEL T CRABB AS A
             DEFENSE ATTORNEY FOR KEVIN JOHN PERKS; INTEGRATED CAPABILITIES
             LTD
  04/01/2016 FILE STAMP 04/01/16, INTEGRATED CAPABILITIES, LTD. AND KEVIN PERKS'S
             LIMITED APPEARANCE AND MOTION TO DISMISS FOR LACK OF PERSONAL
             JURISDICTION
  04/04/2016 FILE STAMP 04/04/16, NOTICE OF SERVICE OF PROPOSED JOURNAL ENTRY
             PURSUANT TO SUPREME COURT RULE 170
  04/05/2016 FILE STAMP 04/05/16, GCM HOLDINGS, LTD.'S (GCM) MOTION FOR
             APPOINTMENT OF NEUTRAL AND PARAMETERS
  04/06/2016 FILE STAMP 04/06/16, PLAINTIFF'S RESPONSE TO GCM HOLDINGS MOTION

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             FOR APPOINTMENT OF NEUTRAL AND PARAMETERS
  04/07/2016 FILE STAMP 04/06/16, PLAINTIFF'S SUPPLEMENTAL RESPONSE IN
             OPPOSITION TO DEFENDANT GABRIEL MURPHY'S MOTION TO COMPEL
  04/07/2016 FEE OF MOTION 195.00;, Receipted Amount: $195.00 , Check No: 3778, Receipt NO:
             16011291
  04/07/2016 <******* Bench Notes *********>
             MOTION TO COMPEL: PLAINTIFF APPEARS BY ADAM GASPER.
             DEFENDANT MURPHY APPEARS IN PERSON AND WITH BILL MODRICIN.
             DEFENDANT WESTMARK APPEARS BY BILL MODRICIN. CROWD SHOUT
             HOLDINGS APPEARS BY MICHELLE SUTER. CHRIS PICKERING APPEARS
             FOR GCM HOLDINGS. STATUS CONFERENCE SET. PARTIES TO RESOLVE
             DISPUTES REGARDING THIRD PARTY NEUTRAL. MOTION TO COMPEL IS
             DEFERRED AT REQUEST OF PARTIES.(RPTR: RANDOLPH)(JUDGE: GURNEY)
  04/07/2016 SCHED. STATUS CONFERENCE on 05/09/16,01:30pm,Div 11
  04/15/2016 FILE STAMP 04/15/16, CROWD SHOUT HOLDINGS, LTD. MOTION FOR
             EXTENSION OF TIME TO RESSPOND TO MOTION TO DISMISS
  04/19/2016 FILE STAMP 04/19/16, OPPOSITION TO CROWD SHOUT HOLDING'S MOTION
             FOR EXTENSION OF TIME TO RESPOND TO PERK'S AND I-CAP'S MOTION TO
             DISMISS FOR LACK OF PERSONAL JURISDICTION
  04/22/2016 FILE STAMP 04/21/16, CERTIFICATE OF SERVICE
  04/25/2016 FILE STAMP 04/25/16, NOTICE OF HEARING
  05/06/2016 FILE STAMP 05/05/16, PLAINTIFF'S MOTION TO DETERMINE THE
             SUFFICIENCY OF CROWD SHOUT HOLDINGS, LTD.'S RESPONSES AND
             DENIALS TO REQUESTS FOR ADMISSIONS
  05/06/2016 FILE STAMP 05/05/16, PLAINTIFF'S MOTION TO DETERMINE THE
             SUFFICIENCY OF GCM HOLDINGS' RESPONSES AND DENIALS TO
             REQUESTS FOR ADMISSIONS
  05/06/2016 FILE STAMP 05/06/16, CROWD SHOUT LTD'S MOTION FOR PRELIMINARY
             INJUNCTION AND FOR ORDER TO SHOW CAUSE WHY DEFENDANT
             GABRIEL MURPHY SHOULD NOT BE HELD IN CONTEMPT OF COURT
  05/09/2016 <******* Bench Notes *********>
             HEARING ON APPOINTMENT OF NEUTRAL: PLAINTIFF APPEARS BY ADAM
             GASPER. DEFENDANT GABRIEL MURPY APPEARS IN PERSON AND WITH
             BILL MODRICIN. DEFENDANT WESTMARK APPEARS BY BILL MODRICIN.
             GCM HOLDINGS APPEAR BY CHRIS PICKERING. CROWD SHOUT HOLDINGS
             APPEARS BY MICHELLE SUTER. MICHAEL CRABB APPEARS FOR MR.
             PERKS AND INTEGRATED CAPABILITIES. PARTIES STILL WORKING OUT
             AGREEMENT. CROWD SHOUT HOLDINGS LTD'S MOTION FOR EXTENSION
             OF TIME TO RESPOND TO MOTION TO DISMISS-GRANTED. RESPONSE DUE
             BY 051816. REPLY DUE BY 052716. NEXT HEARING ON PENDING MOTIONS
             SET FOR 061716. PARTIES TO CONTINUE TO DISCUSS MOTION TO COMPEL
             ISSUES, MAY BRING UP AT NEXT HEARING.(RPTR: HEARN)(JUDGE:
             GURNEY)
  05/10/2016 SCHED. MOTION on 06/17/16,02:45pm,Div 11
  05/20/2016 FILE STAMP 05/18/16, RESPONSE TO MOTION TO DISMISS FOR LACK OF
             PERSONAL JURISDICTION
  05/20/2016 FILE STAMP 05/20/16, NOTICE OF SERVICE
  05/20/2016 FILE STAMP 05/20/16, NOTICE OF SERVICE
  05/26/2016 ELECTRONIC ENTRY OF APPEARANCE BY BENJAMIN S CREEDY AS A
             PLAINTIFF ATTORNEY FOR CROWD SHOUT HOLDINGS LTD.
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  05/27/2016 FILE STAMP 05/26/16, ENTRY OF APPEARANCE AND NOTICE OF
             WITHDRAWAL
  05/27/2016 Removed: Plaintiff Attorney SUTER, MICHELLE M
  05/27/2016 FILE STAMP 05/27/16, MOTION FOR LEAVE TO WITHDRAW
  05/27/2016 FILE STAMP 05/27/16, REPLY IN SUPPORT OF INTEGRATED CAPABILITIES,
             LTD. AND KEVIN PERK'S MOTION TO DIMISS FOR LACK OF PERSONAL
             JURISDICTION
  06/01/2016 FILE STAMP 06/01/16, NOTICE OF WITHDRAWAL AND SUBSTITUTION OF
             COUNSEL
  06/01/2016 Removed: Defense Attorney MODRCIN, WILLIAM M
  06/01/2016 Defense Attorney CREEDY, BENJAMIN S assigned on 06/01/16
  06/01/2016 FILE STAMP 06/01/16, NOTICE OF WITHDRAWAL AND SUBSTITUTION OF
             COUNSEL
  06/01/2016 Removed: Plaintiff Attorney PICKERING, CHRISTOPHER F
  06/01/2016 Removed: Defense Attorney SUTER, MICHELLE M
  06/03/2016 FILE STAMP 06/03/16, MOTION OF WESTMARK CAPITAL, LLC, CROWD
             SHOUT HOLDINGS, LTD., GCMHOLDINGS, LTD. AND GABRIEL MURPHY TO
             CONTINUE TO MOTION HEARING SCHEDULED FOR JUNE 17, 2016
  06/07/2016 RESCHED. MOTION on 07/05/16,01:30pm,Div 11, NEW ATTORNEY CREEDY ON
             CASE WHO HAS SCHEDULED VACATION PRIOR TO BEING RETAINED
  06/20/2016 FILE STAMP 06/20/16, MOTION OF GCM HOLDINGS, LTD. FOR ANTI-SUIT
             INJUNCTION AGAINST CROWD SHOUT HOLDINGS, LTD. AND CROWD
             SHOUT, LTD.
  06/28/2016 FILE STAMP 06/28/16, NOTICE OF HEARING
  06/28/2016 FILE STAMP 06/28/16, NOTICE OF HEARING, SET FOR 7/5/16 AT 1:30AM
  06/30/2016 FILE STAMP 06/30/16, CROWD SHOUT HOLDINGS, LTD,'S SURREPLY AND
             SUPPLEMENTAL SUGGESTIONS IN OPPOSITION TO CROSS-CLAIM
             DEFENDANTS INTEGRATED-CAPABILITIES, LTD. AND KEVIN JOHN PERKS'
             MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
  06/30/2016 FILE STAMP 06/30/16, REQUEST FOR HEARING AND NOTICE THEROF FOR
             GCM HOLDINGS, LTD.'S MOTION FOR ANTI-SUIT INJUNCTION AGAINST
             CROWD SHOUT HOLDINGS, LTD. AND CROWD SHOUT, LTD
  07/05/2016 FILE STAMP 07/01/16, MOTION TO QUASH HEARING NOTICE AND FOR
             EXTENSION OF TIME TO RESPOND TO GCM HOLDINGS' MOTION FOR ANTI-
             SUIT INJUNCTION
  07/05/2016 PRO HAC VICE FEE $100.00; PAID BY BENJAMIN S CREEDY, RECEIPTED
             AMOUNT $100.00, E-PAYMENT NO: 68269351
  07/05/2016 FILE STAMP 07/05/16, VERIFIED APPLICATION OF AN OUT-OF-STATE
             ATTORNEY FOR ADMISSION PRO HAC VICE TO PRACTICE IN THE
             CAPTIONED CASE
  07/05/2016 FILE STAMP 07/05/16, MOTION TO ADMIT OUT-OF-STATE ATTORNEY PROC
             HAC VICE FOR THIS CASE
  07/05/2016 FILE STAMP 07/05/16, OUT-OF-STATE ATTORNEY'S OATH
  07/05/2016 FILE STAMP 07/05/16, ORDER ADMITTING OUT-OF-STATE ATTORNEY
  07/05/2016 <******* Bench Notes *********>
             MOTIONS: PLAINTIFF APPEARS BY ADAM GASPER AND GREG SPIES.
             MICHAEL CRABB APPEARS FOR KEVIN PERKS AND I-CAP. BEN CREEDY
             AND ED MURPHY APPEAR FOR DEFENDANTS MURPHY (APPEARS IN
             PERSON) AND WESTMARK AND FOR CROWD SHOUT HOLDINGS. HEARING
https://jococourts.org/securepublic/civroaprn.aspx?SORT=ASC                               14/18
9/25/2017         Case 2:17-bk-07843-FMD Doc        8 HISTORY
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             ON PERKS AND I-CAP'S MOTION TO DISMISS: COURT WILL ALLOW
             DISCOVERY ON JURISDICTION. BY 071916, PARTIES TO AGREE ON
             RELEVANT DISCOVERY COVERING JURISDICTION, WHICH WILL NEED TO
             BE RESPONDED TO BY 080916. SUPPLEMENTAL BRIEFING DUE IN
             OPPOSITION TO MOTION TO DISMISS BY 082316 WITH RESPONSES DUE BY
             090616. RESPONSE TO MOTION FOR ANTI-INJUNCTION DUE BY 071516.
             HEARING ON ANTI-INJUNCTION MOTION ON 072016. COURT GRANTS
             PLAINTIFF'S MOTION FOR ALL PROCEEDS FROM WEBSITE TO BE
             DEPOSITED IN LOCK BOX. NO DISTRIBUTIONS ABSENT AGREEMENT BY
             PARTIES. PARTIES TO FINALIZE THIRD PARTY ENTITY TO RUN WEBSITE BY
             AGREED ORDER. IF NOT OBTAINABLE, ALTERNATIVE ARRANGEMENTS
             MAY BE PRESENTED AT NEXT HEARING DATE. HEARING ON MOTION TO
             DISMISS SET FOR 091316.(RPTR: RANDOLPH)(JUDGE: GURNEY)
  07/05/2016 SCHED. MOTION on 07/20/16,04:00pm,Div 11
  07/05/2016 SCHED. MOTION TO DISMISS on 09/13/16,02:30pm,Div 11
  07/07/2016 FILE STAMP 07/07/16, NOTICE OF SERVICE OF PROPOSED JOURNAL ENTRY
             PURSUANT TO SUPREME COURT RULE 170
  07/18/2016 FILE STAMP 07/15/16, OPPOSITION TO GCM HOLDINGS' MOTION FOR ANTI-
             SUIT INJUNCTION
  07/20/2016 <******* Bench Notes *********>
             HEARING ON MOTION FOR ANTI-SUIT INJUNCTION: PLAINTIFF APPEARS
             BY ADAM GASPER. DEFENDANTS INTEGRATED CAPABILITIES AND PERKS
             APPEARS BY MICHAEL CRABB. DEFENDANTS WESTMARK, GCM AND
             MURPHY APPEAR BY BEN CREEDY. MOTION DENIED FOR REASONS
             STATED ON THE RECORD. PLAINTIFF'S ATTORNEY TO PREPARE JOURNAL
             ENTRY.(RPTR: MURRAY)(JUDGE: GURNEY)
  07/21/2016 FILE STAMP 07/21/16, NOTICE OF SERVICE OF PROPOSED JOURNAL ENTRY
             PURSUANT TO SUPREME COURT RULE 170
  07/22/2016 DISPOSITIVE MOTION FEE $195.00; PAID BY ADAM J GASPER, RECEIPTED
             AMOUNT $195.00, E-PAYMENT NO: 68511260
  07/22/2016 FILE STAMP 07/22/16, MOTION TO DISMISS TECHBIZ ADVISORS, LLC'S
             CLAIMS WITH PREJUDICE FOR FAILURE TO PROSECUTE
  08/01/2016 FILE STAMP 08/01/16, GCM HOLDINGS, LTD.'S OBJECTION TO PROPOSED
             JOURNAL ENTRY FILED BY PLAINTIFF CROWD SHOUT. LTD. ON JULY 21,
             2016
  08/05/2016 FILE STAMP 8/4/2016, DECLARATION OF ROGINA MURPHY
  08/09/2016 ELECTRONIC ENTRY OF APPEARANCE BY BENJAMIN S CREEDY AS A
             PLAINTIFF ATTORNEY FOR TECHBIZ
  08/09/2016 FILE STAMP 08/09/16, TECHBIZ ADVISORS, LLC'S OPPOSITION TO MOTION
             TO DISMISS AND MOTION FOR LEAVE TO FILE RESPONSE OUT OF TIME
  08/09/2016 FILE STAMP 08/09/16, INTERGRATED CAPABILITIES, LTD. AND KEVIN
             PERK'S MOTION FOR PROTECTIVE ORDER
  08/10/2016 FILE STAMP 08/10/16, JOURNAL ENTRY (FROM HEARING ON JULY 5TH, 2016)
  08/23/2016 FILE STAMP 08/23/16, CROSS CLAIM PETITION
  08/24/2016 FILE STAMP 08/23/16, RESPONSE TO MOTION FOR PROTECTIVE ORDER
             FILED BY KEVIN JOHN PERKS AND INTEGRATED-CAPABILITIES, LTD.,
             MOTION TO COMPEL DISCOVERY AND MOTION TO EXTEND TIME TO FILE
             BRIEFING ON JURISDICTIONAL ISSUES
  08/25/2016 FILE STAMP 08/24/16, CERTIFICATE OF SERVICE
  09/09/2016 FILE STAMP 09/09/16, CERTIFICATE OF SERVICE
https://jococourts.org/securepublic/civroaprn.aspx?SORT=ASC                             15/18
9/25/2017         Case 2:17-bk-07843-FMD Doc        8 HISTORY
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  09/09/2016 FILE STAMP 09/09/16, MOTION FOR EXTENSION OF TIME TO RESPOND TO
             GCM HOLDINGS' CROSSCLAIM PETITION
  09/13/2016 <******* Bench Notes *********>
             MOTION TO DISMISS: PLAINTIFF APPEARS BY GREG SPIES. DEFENDANT
             PERKS AND INTEGRATED CAPABILITIES APPEAR BY MICHAEL CRABB.
             DEFENDANT MURPHY APPEARS IN PERSON WITH BEN CREEDY AND ED
             MURPHY. DEFENDANT WESTMARK CAPITAL APPEARS BY BEN CREEDY
             AND ED MURPHY. GCM, TECH BIZ, CROWD SHOUT HOLDINGS APPEAR BY
             BEN CREEDY AND ED MURPHY. COURT ENTERS STAY AND HOLDS
             PENDING MOTION TO DISMISS IN ABEYANCE. THE STAY IS LIMITED ONLY
             TO PENDING MOTION TO DISMISS BY DEFENDANTS PERKS AND AND I-CAP
             ON CROWD SHOUT HOLDINGS' CROSS-CLAIM AGAINST THESE
             DEFENDANTS.(RPTR: OMALLEY)(JUDGE: GURNEY)
  09/19/2016 FILE STAMP 09/19/16, NOTICE OF INTENT TO REQUEST ISSUANCE OF
             NONPARTY SUBPOENAS OF BUSINESS RECORDS PURSUANT TO KSA 60-
             245A
  09/19/2016 FILE STAMP 09/19/16, NOTICE OF SERVICE OF PROPOSED JOURNAL ENTRY
             PURSUANT TO SUPREME COURT RULE 170
  09/20/2016 FILE STAMP 09/20/16, REQUEST AND SERVICE INSTRUCTION FORM;
             INTEGRATED-CAPABILITIES, LTD.
  09/20/2016 FILE STAMP 09/20/16, REQUEST AND SERVICE INSTRUCTION FORM, KEVIN
             JOHN PERKS
  09/20/2016 PETITION AND SUMMONS ISSUED TO ATTORNEY FOR CERTIFIED MAIL
             "INTEGRATED CAPABILITIES LTD" E/S
  09/20/2016 PETITION AND SUMMONS ISSUED TO ATTORNEY FOR CERTIFIED MAIL
             "KEVIN JOHN PERKS" E/S
  09/26/2016 FILE STAMP 09/26/16, JOURNAL ENTRY (FROM HEARING HELD ON 9/13/16)
  09/27/2016 FILE STAMP 09/27/16, CROWD SHOUT, LTD.'S ANSWER TO GCM HOLDINGS'
             CROSSCLAIM PETITION
  09/28/2016 FILE STAMP 09/28/16, CERTIFICATE OF SERVICE
  09/30/2016 FILE STAMP 09/30/16, OBJECTION TO INTENDED NON-PARTY SUBPOENA TO
             US BANK
  09/30/2016 FILE STAMP 09/30/16, OBJECTION TO INTENDED NON-PARTY SUBPOENA TO
             THE KATZ LAW FIRM L C
  10/07/2016 FILE STAMP 10/06/16, RETURN OF SERVICE
  10/14/2016 FILE STAMP 10/13/16, MOTION FOR RECONSIDERATION FOR ANTI-SUIT
             INJUNCTION AGAINST CROWD SHOUT HOLDINGS LTD AND CROWD
             SHOUT LTD
  10/14/2016 FILE STAMP 10/14/16, MOTION FOR ORDER TO ISSUE BUSINESS RECORDS
             SUBPOENAS
  10/14/2016 FILE STAMP 10/14/16, AMENDED MOTION FOR RECONSIDERATION FOR
             ANTI-SUIT INJUNCTION AGAINST CROWD SHOUT HOLDINGS LTD AND
             CROWD SHOUT LTD
  10/19/2016 SCHED. MOTION on 11/02/16,01:30pm,Div 11
  10/19/2016 <******* Bench Notes *********>
             HEARING ON 110216 IS HEARING ON DOCUMENTS 238 AND 239.(TAPE:
             NONE)
  10/20/2016 FILE STAMP 10/20/16, NOTICE OF HEARING
  10/21/2016 FILE STAMP 10/21/16, CLERK'S ORDER FOR 14 DAY EXTENSION OF TIME TO

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             ANSWER OR OTHERWISE PLEAD
  10/28/2016 FILE STAMP 10/28/16, RESPONSE IN OPPOSITION TO GCM HOLDINGS'
             MOTION FOR ORDER TO ISSUE BUSINESS RECORDS' SUBPOENAS
  10/28/2016 FILE STAMP 10/28/16, RESPONSE IN OPPOSITION TO GCM HOLDINGS'
             MOTION FOR RECONSIDERATION OF ANTI-SUIT INJUNCTION
  11/02/2016 FILE STAMP 11/01/16, VOXA, LLC'S MOTION TO QUASH DEFENDANTS'
             BUISNESS RECORDS SUBPOENA TO US BANK AND MEMORANDUM IN
             SUPPORT THEREOF
  11/02/2016 <******* Bench Notes *********>
             HEARING ON MOTIONS (DOC. 238 AND 239): PLAINTIFF APPEARS BY ADAM
             GASPER. DEFENDANT PERKS AND I-CAP APPEAR BY MICHAEL CRABB.
             DEFENDANT MURPHY AND GCM APPEAR BY BEN CREEDY. HEARING ON
             MOTION TO RECONSIDER ANTI-SUIT INJUNCTION - MOTION DENIED.
             COURT SUSTAINS OBJECTION TO SUBPOENA OF CROWD SHOUT CLIENT
             FILE TO KATZ LAW FIRM. DEFENDANT NEEDS TO REVISE AND LIMIT
             ATTORNEY-CLIENT INFORMATION FROM REQUEST. SUBPOENA FOR VOXA
             RECORDS WILL BE ADDRESSED AFTER PARTIES HAVE MET IN ATTEMPT TO
             RESOLVE DISPUTE.(RPTR: RYAN)(JUDGE: GURNEY)
  11/04/2016 FILE STAMP 11/03/16, NOTICE OF SERVICE OF PROPOSED JOURNAL ENTRY
             PURSUANT TO SUPREME COURT RULE 170
  11/08/2016 FILE STAMP 11/08/16, PERK'S AND I-CAP'S CONSENT MOTION FOR 14-DAY
             EXTENSION OF TIME TO FILE REPONSIVE PLEADING
  11/23/2016 FILE STAMP 11/23/16, NOTICE OF SERVICE OF DISCOVERY RESPONSES
  11/23/2016 DISPOSITIVE MOTION FEE $195.00; PAID BY MICHAEL T CRABB, RECEIPTED
             AMOUNT $195.00, E-PAYMENT NO: 70690573
  11/23/2016 FILE STAMP 11/23/16, INTEGRATED CAPABILITIES, LTD. AND KEVIN JOHN
             PERKS'S LIMITED APPEARANCE AND MOTION TO DISMISS GCM
             HOLDINGS, LTD'S CROSS-CLAIM FOR LACK OF PERSONAL JURISDICTION
  12/06/2016 FILE STAMP 12/05/16, APPLICATION TO ISSUE A COMMISSION PURSUANT
             TO KSA 60-228
  12/06/2016 FILE STAMP 12/05/16, NOTICE TO TAKE VIDEO-TAPED DEPOSITION OF NON-
             PARTY MICHAEL CONNOLLY SUBPOENA DUCES TECUM
  12/06/2016 FILE STAMP 12/06/16, SUBPOENA DUCES TECUM FOR DEPOSITION,
             MICHAEL CONNOLLY
  12/06/2016 FILE STAMP 12/06/16 03:29pm, REQUEST AND SERVICE INSTRUCTION FORM
  12/06/2016 SUBPOENA ISSUED TO PROCESS SERVER, ENVELOPE PROVIDED "MICHAEL
             CONNOLLY"
  12/22/2016 FILE STAMP 12/22/16, AFFIDAVIT OF SERVICE, SERVED MICHAEL
             CONNOLLY 12/8/16
  01/05/2017 FILE STAMP 01/04/17, GCM HOLDINGS, LTD.'S MOTION TO COMPEL
             DISCOVERY
  01/05/2017 FILE STAMP 01/04/17, GCM HOLDINGS, LTD.'S PRELIMINARY RESPONSE TO
             INTEGRATED-CAPABILITIES, LTD. AND KEVIN JOHN PERKS' MOTION TO
             DISMISS FOR LACK OF PERSONAL JURISDICTION
  02/07/2017 FILE STAMP 02/06/17, INTEGRATED-CAPABILITIES, LTD. AND KEVIN JOHN
             PERKS'S RESPONSE IN OPPOSITION TO GCM HOLDINGS' MOTION TO
             COMPEL
  04/18/2017 FILE STAMP 04/18/17, NOTICE OF VIDEOTAPED DEPOSITION OF MICHAEL
             CONNOLLY

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  04/19/2017 SCHED. CONFERENCE CALL on 04/20/17,11:30am,Div 11
  04/20/2017 <******* Bench Notes *********>
             CONFERENCE CALL: PLAINTIFF APPEARS BY ADAM GASPER.
             DEFENDANTS PERKS AND INTEGRATED APPEAR BY MICHAEL CRABB.
             DEFENDANTS MURPHY, GCM HOLDINGS, TECHBIZ, WESTMARK AND
             CROWD SHOUT HOLDINGS APPEAR BY BEN CREEDY AND ED MURPHY.
             COURT TAKES UP DISPUTE REGARDING DEPOSITION OF MICHAEL
             CONNELLY SCHEDULED FOR 042417 IN ORLANDO, FLORIDA. COURT
             DIRECTS THAT DEPOSITION SHALL NOT PROCEED ON THIS DATE DUE TO
             UNAVAILABILITY OF COUNSEL. COUNSEL SHALL ARRANGE FOR THE
             DEPOSITION TO BE TAKEN WITHIN NEXT 21 DAYS ON A MUTUALLY
             CONVENIENT DATE FOR ALL COUNSEL AND DEPONENT.(TAPE: NONE)
             (JUDGE: GURNEY)
  04/21/2017 ELECTRONIC ENTRY OF APPEARANCE BY R EDWARD MURPHY AS A
             DEFENSE ATTORNEY FOR ` WESTMARK CAPITAL LLC; GABRIEL MURPHY
  04/21/2017 ELECTRONIC ENTRY OF APPEARANCE BY R EDWARD MURPHY AS A
             PLAINTIFF ATTORNEY FOR GCM HOLDINGS LTD; TECHBIZ; CROWD SHOUT
             HOLDINGS LTD.
  04/21/2017 FILE STAMP 04/21/17, AMENDED NOTICE OF VIDEOTAPED DEPOSITION OF
             MICHAEL CONNOLLY
  04/21/2017 FILE STAMP 04/21/17, ENTRY OF APPEARANCE
  05/26/2017 FILE STAMP 05/26/17, APPLICATION TO ISSUE COMMISSION PURSUANT TO
             KSA 60-228
  05/26/2017 FILE STAMP 05/26/17, DEFENDANT GABRIEL MURPHYS ADDITIONAL
             SUGGESTIONS IN SUPPORT OF MOTION TO COMPEL DISCOVERY WITH
             MEMORANDUM IN SUPPORT
  06/05/2017 FILE STAMP 06/05/17, NOTICE OF RELEVANT ORDER IN A SIMILAR CASE
  06/09/2017 FILE STAMP 06/09/17, MOTION FOR EXTENSION OF TIME TO RESPOND TO
             DEFENDANT MURPHY'S MOTION TO COMPEL
  06/12/2017 FILE STAMP 06/09/17, NOTICE TO TAKE VIDEO-TAPED DEPOSITION OF NON-
             PARTY ANDREA M. KURAK SUBPOENA DUCES TECUM
  06/12/2017 FILE STAMP 06/09/17, APPLICATION TO ISUE A COMMISSION
  06/23/2017 FILE STAMP 06/22/17, RESPONSE IN OPPOSITION TO DEFENDANT MURPHY'S
             MOTION TO COMPEL
  07/25/2017 FILE STAMP 07/24/17, APPLICATION TO ISSUE A COMMISSION PURSUANT
             TO KSA 60-228
  08/02/2017 FILE STAMP 08/01/17, SUBPOENA DUCES TECUM FOR DEPOSITION, COBB &
             COLE PA
  08/30/2017 FILE STAMP 08/29/17, CERTIFICATE OF SERVICE
  09/01/2017 NOTICE AND ORDER OF PENDING DISMISSAL PER LOCAL RULE 6 MAILED
             TO PARTIES
  09/01/2017 FILE STAMP 9/1/2017, NOTICE AND ORDER OF PENDING DISMISSAL




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                     Exhibit G
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                        IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCIDT
                                IN AND FOR ORANGE COUNTY, FLORIDA

         MICHAEL CONNOLLY,

                   Plaintiff,                                 Case No.:
                                                              Division:
         V.

         GABRIEL MURPHY AND
         GCMHOLDINGS LTD.,

                   Defendants.
         - - - - - - - - - - - -I


                                                         COMPLAINT
                  Plaintiff, MICHAEL CONNOLLY, by and through his undersigned counsel, hereby files

        this Complaint against Defendants, GCM HOLDINGS, LTD. and GABRIEL MURPHY, and

        states as follows:

                  1.        This is an action by Plaintiff, MICHAEL CONNOLLY, against Defendants, GCM

        HOLDINGS, LTD. and GABRIEL MURPHY, seeking temporary and permanent injunctive relief

        from a Subpoena Duces Tecum for Deposition ("the Subpoena") and deposition related to

        litigation pending in a foreign state.

                  2.        Plaintiff, MICHAEL CONNOLLY, is a Florida resident.

                  3.        Defendant, GCM HOLDINGS, LTD ("GCM"), is a company formed under the

        laws of the Republic of Malta. The principal shareholder of GCM is Defendant, GABRIEL

        MURPHY ("MURPHY").

                  4.        Defendant, GABRIEL MURPHY, is a resident of Lee County, Florida.

                  5.        Defendants subjected themselves to the jurisdiction of the courts of Florida under

        Chapter 48, Florida Statutes, by (a) operating, conducting, engaging in, or carrying on a business




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or business venture in Florida, (b) causing injury to persons within Florida arising out of an act or

omission occurring outside of Florida, and (c) engaging in substantial and not isolated activity

within Florida.

           6.       Venue in Orange County, Florida, is proper under Chapter 47, Florida Statutes, as

the cause of action accrued in Orange County, Florida, since the subpoena was issued by the Clerk

of the Circuit Court of Orange County, Florida, and the production of documents and deposition

was scheduled to take place in Orange County, Florida.

                COUNT I: TEMPORARY AND PERMANENT INJUNCTIVE RELIEF
                              AGAINST GCM AND MURPHY

         7.         CONNOLLY realleges and incorporates herein paragraphs 1-6 of the Complaint.

           8.       On December 5, 2016 and December 6, 2016, Defendant GCM filed a Notice to

Take Video Taped Deposition of a Non-Party and a Subpoena Duces Tecum (the "Subpoena"),

respectively, in the matter known as Crowd Shout, Ltd., v. Gabriel Murphy, et al, which is currently

pending in Johnson County District Court in the Tenth Judicial District of Kansas (the "foreign

litigation").      GCM then domesticated the Subpoena in Orange County, Florida. A copy of the

Subpoena is attached hereto as Exhibit 1.

         9.         The deposition is currently set for January 6, 2017 in Orlando, Orange County,

Florida.

           10.      CONNOLLY is not a party to the foreign litigation and the Subpoena was issued

solely to harass and embarrass him.

           11.      The Subpoena seeks to question CONNOLLY regarding forty (40) different

categories of documents, many of which request all communications over a period of nearly four

(4) years. The responsive documents and testimony contain private and confidential information




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that is not likely to lead to admissible evidence in the case at issue and the request is solely intended

to harass and embarrass CONNOLLY.

         12.       The Subpoena violates CONNOLLY'S constitutional right to privacy as outlined

in Art. I, §23 of the Florida Constitution.

         13.       CONNOLLY is entitled to temporary and permanent injunctive relief with respect

to the Subpoena in the foreign litigation insofar that it constitutes a violation of his constitutional

right to privacy.

         WHEREFORE, Plaintiff, MICHAEL CONNOLLY, respectfully requests that this Court

enter temporary and permanent injunctive relief for MICHAEL CONNOLLY against GMC

HOLDINGS, LTD. and GABRIEL MURPHY, and such other and further relief as the Court may

deem necessary and proper.

         Dated: January 5, 2107.




                                                   By: Isl Kelly Parsons Kwiatek
                                                         KELLY PARSON KWIATEK
                                                         FLA. BAR NO. 860611
                                                         Primary e-mail address:
                                                         Kelly.Parsons@cobbcole.com
                                                         Secondary e-mail address:
                                                         Michele.Staples@cobbcole.com
                                                         Post Office Box 2491
                                                         Daytona Beach, FL 32115-2491
                                                         Telephone: (386) 323-9269
                                                         Facsimile: (386) 944-7958
                                                         ATTORNEY FOR PLAINTIFF




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         Case 2:17-bk-07843-FMD            Doc 8      Filed 09/28/17        Page 90 of 105
                                                                                                               15CV00453
                                                                                                                   Divll




                         IN THE TENTH JUDICIAL DISTRICT
                   DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                               CIVIL DEPARTMENT

CROWD SHOUT, LTD.,                                )
                                                  )
                       Plaintiff,                 )
                                                  )           Case No.: 15CV00453
v.                                                )           Division: 11
                                                  )
GABRIEL MURPHY, et al.,                           )
                                                  )
                       Defendants.                )
                                                  )

                      SUBPOENA DUCES TECUM FOR DEPOSITION
                     (Order to appear with the items listed and give deposition)


         TO:    Michael Connolly
                444 New England Boulevard
                Winter Park, Florida 32789


         You are hereby commanded to appear before a person authorized by law to take depositions
for your deposition on January 6, 2017 at the location specified on the notice as detailed on page
2 of this Subpoena Duces Tecum and you are further commanded to produce at the date and time
of the deposition for inspection and/or copying any and all documents and materials described in
Exhibit A.


         IF YOU FAIL TO APPEAR, YOU MAY BE IN CONTEMPT OF COURT. You are
subpoenaed to appear by the following attorneys for Defendants: Benjamin Creedy and Edward
Murphy and unless executed from this subpoena by these attorneys or the Court, you shall respond
to this subpoena as directed.
                                                        lDfFANY MOORE RUSSELL



Dated:
          DECO 8 2016

                                                      Orange County, Florida

                            EXHIBIT                        Clerk of the District Cowt, Johnson County Kansas
                                                                                      12/06/16 03:29pmHS
                      I I
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                                                                                                                15CV00453
                                                                                                                    Divll




                         IN THE TENTH JUDICIAL DISTRICT
                   DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                                CIVIL DEPARTMENT

.CROWD SHOUT, LTD.,                               )
                                                  )
                       Plaintiff,                 )
                                                  )           Case No.: 15CV00453
v.                                                )           Division: 11
                                                  )
GABRIEL MURPHY, et al.,                           )
                                                  )
                       Defendants.                )
                                                  )

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         You are hereby commanded to appear before a person authorized by law to take depositions
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of the deposition for inspection and/or copying any and all documents and materials described in
Exhibit A.


         IF YOU FAIL TO APPEAR, YOU MAY BE IN CONTEMPT OF COURT. You are
subpoenaed to appear by the following attorneys for Defendants: Benjamin Creedy and Edward
Murphy and unless executed from this subpe>ena by these attorneys or the Court, you shall respond
to this subpoena as directed.
                                                        TIFFANY MOORE RUSSELL
                                                               i'.ABIO.Lil .ALV.AtlJu.,v
Dated:   DEC O8,2016                                           am. COURT SEAI,
                                                      Clerk of the Court
                                                      Orange County, Florida

                                                           Clerk of the District Court, JohnBon County Kansas
                                                                                       12/06/16 03:29pmHS
        Case 2:17-bk-07843-FMD            Doc 8     Filed 09/28/17        Page 92 of 105
                                                                                                             15CV00453
                                                                                                                 Divll




                        IN THE TENTH JUDICIAL DISTRICT
                  DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                               CIVIL DEPARTMENT

CROWD SHOUT, LTD.,                              )
                                                )
                      Plaintiff,                )
                                                )           Case No.: 15CV00453
v.                                              )           Division: 11
                                                )
GABRIEL MURPHY, et al.,                         )
                                                )
                      Defendants.               )
                                                )

          NOTICE TO TAKE VIDEO-TAPED DEPOSITION OF NON-PARTY
               MICHAELCONNOLLYSUBPOENADUCESTECUM

       PLEASE TAKE NOTICE that Intervenor GCM Holdings Ltd will take the video-taped
deposition of Michael Connolly on January 6, 2017 at 9:00 a.m., at the office of U.S. Legal
Support, 20 North Orange Avenue, Suite 1209, Orlando, Florida 32801. Said deposition will be
held before a person authorized to administer oaths under the laws of the State of Florida, to be
used as discovery and as evidence in the above-captioned matter. This deposition will be recorded
in both video tape means as well as by stenograph means by US Legal Support. The deposition
will take place pursuant to the Florida Rules of Civil Procedures. The deponent is commanded to
produce the documents identified in Exhibit A, which is attached hereto and incorporated herein
by reference.
                                            Respectfully submitted,

                                            MURPHY, TAYLOR, SIBMENS &
                                            ELLIOTT, P.C.

                                            By: Isl Beniamin S. Creedv
                                                Benjamin S. Creedy-#24776
                                                bencrccdy@mtselaw.com
                                                3007 Frederick Avenue
                                                St. Joseph, Missouri 64506
                                                Telephone: (816) 364-6677
                                                Facsimile: (816) 364-9677

                                            ATTORNEYS FOR DEFENDANT GCM
                                            HOLDINGS, LTD.

                                                         Clerk of the District Cour~ Johnson County Kansas
                                                                                       12105/16 03:20pm JC
        Case 2:17-bk-07843-FMD             Doc 8     Filed 09/28/17         Page 93 of 105




                                 CERTIFICATE OF SERVICE

I hereby certify thatthe foregoing was sent to all attorneys of record through the Court's electronic
filing system on this 6th day of December, 2016.

Isl Beniamin S. Creedv




                                                           Clerk of the District Court, Johnson County Kansas
                                                 2                                    12/06/16 03:29pm HS
         Case 2:17-bk-07843-FMD           Doc 8     Filed 09/28/17     Page 94 of 105




                                          EXHIBIT A

                            (Documents to be produced by deponent)


        1.      A complete copy of the affidavit you will have submitted to the civil court in
Malta in claim numbers 892/2015 JZM and 894/2015 JZM by the date of your deposition in the
instant action, as ordered by the Honorable Justice Joseph McKean on November 28, 2016.

       2.      Complete copies of all documents which are referenced in your affidavit as
described in request number one above.

        3.     A complete copy of the Advertising Management Services Agreement between
Plaintiff and Contech, LLC, including all attachments thereto.

       4.     A complete copy of any documents in your possession evidencing your ultimate
beneficial ownership in Contech, LLC and/or its successors or assigns.

      5.      A complete copy of any documents in your possession reflecting the current
ownership or capitalization structure of Contech, LLC and/or its successors or assigns.

       6.     A complete copy of any documents in your possession evidencing your ultimate
beneficial ownership in Connolly Investment Group, LLC and/or its successors or assigns. ·

       7.     A complete copy of any documents in your possession evidencing your ultimate
beneficial ownership in Digital Technology, LLC and/or its successors or assigns.

        8.      A complete copy of the Sonobi Web Publisher agreement as agreed to by
Plaintiff, including all attachments thereto.

       9.      A fully-executed, complete copy of your Noncompete, Nondisclosure and
Nonsolicitation Agreement with Plaintiff.

       10.    A complete copy of any and all letters your legal representatives have sent to
Kevin John Perks and/or Plaintiff on your behalf, from November 19, 2014 to the present.

        11.    A complete copy of all emails which include any attachments of any draft version
of the Shareholders' Agreement for Crowd Shout Holdings Ltd in which you or your attorneys
sent and/or received to or from third parties from June 1, 2012 through August 20, 2012.

      12.     Copies of all emails sent by you to and/or received by you from Cory Lagerstrom,
from March I, 2013 through January 5, 2017.

     13.     Copies of all emails sent by you to and/or received by you from James
McC!ymont, from March I, 2013 through January 5, 2017.



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         Case 2:17-bk-07843-FMD           Doc 8     Filed 09/28/17     Page 95 of 105




       14.    Copies of all emails sent by you to and/or received by you from Nicholas
Gaugler, from March I, 2013 through January 5, 2017.

      15.     Copies of all emails sent by y9u to and/or received by you from Robert Hepting,
from March 1, 2013 through January 5, 2017.

      16.     Copies of all emails sent by you to and/or received by you from James Neeld,
from March 1, 2013 through January 5, 2017.

        17.  Copies of all emails sent by you to and/or received by you from Kevin John
Perks, from March 1, 2013 through January 5, 2017.

       18.    Copies of all emails sent by you to and/or received by you from Robert Arthur
Cannell, from March 1, 2013 through January 5, 2017.

      19.     Copies of all emails sent by to you and/or received by you from Catherine Baxter,
from March l, 2013 through January 5, 2017.

      20.     Copies of all emails sent by to you and/or received by you from Eric Kraft, from
October 8, 2014 through January 5, 2017.

       21.    Copies of all emails sent by you to and/or received by you from Crowd Shout
Limited, from March 1, 2013 through January 5, 2017.

      22.     Copies of all emails sent by you to and/or received by you from Crowd Shout
Holdings Limited, from March 1, 2013 through January 5, 2017.

      23.     Copies of all emails sent by you to and/or received by you from Voxa, LLC, from
March 1, 2013 through January 5, 2017.

       24.     Copies of all emails sent by you to and/or received by you from Integrated-
Capabilities Ltd, from March 1, 2013 through January 5, 2017.

       25.     Copies of all emails sent by you to and/or received by you from Integrated-
Capabilities (Malta) Ltd, from March 1, 2013 through January 5, 2017.

       26.     Copies of invoices in your possession which you have received from Integrated-
Capabilities (Malta) Ltd from July 1, 2012 to the present.

      27.     Copies of all documents in your possession which reflect on the relationship
between Digital Technology LLC and Integrated-Capabilities (Malta) Ltd.

       28.      Copies of any electronic communications you have sent or received which reflects
upon, refers, relates to or is in reference to Nonsuch Financial Ltd.




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       29.      Copies of any electronic communications you have sent or received which reflects
upon, refers, relates to or is in reference to Desert Fox Ltd.

       30.      Copies of any electronic connnunications you have sent or received which reflects
upon, refers, relates to or is in reference to invoice #1738, as received by you and other
employees ofContech, LLC (d/b/a Sonobi Media) from Gabriel Murphy on November 6, 2015.

       31.      Copies of any electronic communications you have sent or received which reflects
upon, refers, relates to or is in reference to NG Holdings Ltd.

        32.     Copies of any electronic communications you have sent or received which reflects
upon, refers, relates to or is in reference to a meeting between you and Nicholas Gaugler and
Robert Hepting from the sunnner of 2014.

        33.     Copies of any electronic communications you have sent or received which reflects
upon, refers, relates to or is in reference to the instant action.

         34.    Copies of any electronic communications you have sent or received which reflects
upon, refers, relates to or is in reference to claim number ORD15/0024, as filed by the Plaintiff
in the Isle of Man on May 22, 2015.

       35.      Copies of any electronic communications you have sent or received which reflects
upon, refers, relates to or is in reference to debt purportedly owed by Plaintiff to Digital
Technology LLC.

        36.     Copies of any electronic communications or documents you have sent or received
which reflects upon, refers, relates to or is in reference to the account receivable presently owed
to Plaintiff by Contech, LLC (d/b/a Sonobi Media).

       37.    A complete print out of your Google Hangouts message history from January 1,
2014 through January 5, 2017 between you and Gabriel Murphy.

       38.    A complete print out of your Google Hangouts message history from January 1,
2014 through January 5, 2017 between you and Nicholas Gaugler.

         39.     Copies of all documents you have sent or received which reflects upon, refers,
relates to or is in reference to the Intellectual Property Assets, as defined in the Asset Purchase
Agreement which you signed, from August 20, 2012, for the dates from January 1, 2012 through
January 5, 2017.




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Filing # 55165836 Case 2:17-bk-07843-FMD Doc 8 Filed 09/28/17 Page 97 of 105
                  E-Filed 04/17/2017 03:25:46 PM


                              IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT.
                                      IN AND FOR ORANGE COLTNTY. FLORIDA

        MICIIAEL CONNOLLY,                                 Case No.: 201 7-CA-000 I 68-0
                   Plaintiff,

        and

        GABRIEL MURPHY, and
        GCM HOLDINGS LTD,
                   Defendants.


                                   ORDER COMPELLING DEPOSITION OF PLAINTIFF

                   THIS CAUSE came before the Court on March 7,2017 on Defendant Gabriel Murphy's

        Reply in Opposition to Plaintiff Michael Connolly's Motion For Protective Order & Motion For

        Emergency Hearing to Compel Deposition & Order to Appear To Show Cause & For Sanctions

        ("Motion to Compel") and the Plaintiff, Michael Connolly's Motion for Protective Order

        ("Motion for Protective Order"), and the Court having heard the figument of counsel, and being

        fully advised in the premises, it is hereby ORDERED AND ADJUDGED that:

                   l.         Defendants' Motion to Compel is hereby GRANTED.

                   2.         Plaintiff s Motion for Protective Order is hereby GRANTED in part and DENIED

        in part.

                   3.         Plaintiff shall personally appear (not as a corporate representative) for a

        videotaped deposition without duces tecum on or before Ap.'il 24,2017. Plaintifls time in

        deposition shall not exceed eight (8) hours.

                   4.         Defendants' withdrawal of the duces tecum is without prejudice.

                   5.         PlaintifPs deposition testimony is ordered in the Johnson County, Kansas

        litigation, case number l5-CV-00453, which may be used for any legal, valid purpose in

        litigation, including collateral litigation proceedings as long as it is consistent with, and subject



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                Case 2:17-bk-07843-FMD                     Doc 8    Filed 09/28/17    Page 98 of 105



to, Federal, State, and/or applicable rules of evidence. In no event, shall the videotaped

deposition, in whole or in part, be put on an online forum, nor shall it be sent electronically

except to be used for any legal, valid purpose in litigation.

            6.          Attomeys' fees and costs, both entitlement and amount (if any), for the

Defendants are reserved.

            DONE AND ORDERED in Orlando, Orange County, Florida, this / 7                               aay of
  2Ai .zort.
                                                             HONORABLE CHRISTI L.
                                                             Circuit Judge



                                                     CERTIFICATE OF SERVICE



record:


Lauren C. Heatwole, Esq.                                           Kelly Parsons Kwiatek, Esq.
Heatwole Law Firm, P.A.                                            Cobb Cole Attomeys at Law
1415 E. Robinson Street, Suite B                                   P.O. Box 2491
Orlando, Florida 32801                                             Da)tona Beach, Florida 321 l5
Telephone: 407 -490-2467                                           Telephone: 386-323 -9269
Fax:407-641-9530                                                   Fax: 386-944-7958
Email: Lauren@Heatwolelaw.com                                      Email : Kelly.Parsons@cobbcole.com
Attorney for Defendanls                                            Attorney for Plaintiff




                                                             Judicial Assistant / Attomey




{042554'004 i KPA8s/O B FTMSC : 02124319. DOCX; 1i          Page 2 of 2
Case 2:17-bk-07843-FMD   Doc 8   Filed 09/28/17   Page 99 of 105




                     Exhibit H
9/25/2017               Case 2:17-bk-07843-FMD                Doc 8      Filed 09/28/17
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                                            Fifth District Court of Appeal


       Case                            File             Pending    Rejected           My             My               Help &
                 Case     Docket                                                                             Logoff
       List                            Document         Filings    Filings       Notifications     Profile            Support




                                         Case No: 5D                                      Search

                                                                  17-1172

                                                      MICHAEL CONNOLLY
                                                             vs
                                            GABRIEL MURPHY AND GCM HOLDINGS, LTD.


                              Date               Type     Pleading                 Note

                                                          ORD-Case Stayed
                          09/19/2017         Order
                                                          Pending Bankruptcy
                                                          Suggestion of
                          09/13/2017         Event
                                                          Bankruptcy
                          08/28/2017       Response       Response                 TO MOT ATTY FEES

                                                          Motion For               FOR MERIT PANEL
                          08/17/2017         Motion
                                                          Attorney's Fees          CONSIDERATION

                          08/17/2017       Response       Reply

                                                                                   OF TWO CITATION
                          08/03/2017         Notice       Other Notice
                                                                                   CORRECTIONS FOR RESPONSE
                                                          Order Grant EOT to
                          08/02/2017         Order
                                                          Reply to Response
                                                          Motion Extension of
                          08/01/2017         Motion       TimeTo Reply To
                                                          Respons
                                                          Appendix to
                          07/28/2017 Brief/Record
                                                          Response
                          07/28/2017       Response       Response                 PER 4/25 ORDER

                                                          ORD-GRANT.
                          07/24/2017         Order        SUBSTIT. OF
                                                          COUNSEL
                                                          Motion For
                          07/21/2017         Motion       Substitution of
                                                          Counsel
                                                          Order Grant EOT to
                          07/20/2017         Order        file Response to Ct.
                                                          Order
                          07/19/2017         Motion       Motion for Extension
                                                          of Time to File

https://edca.5dca.org/Docket.aspx?CaseID=63729                                                                                  1/3
9/25/2017              Case 2:17-bk-07843-FMD            Doc 8      Filed 09/28/17
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                                                      Response
                                                      Order Grant EOT to
                          07/07/2017         Order    file Response to Ct.
                                                      Order
                                                      Motion for Extension
                          07/06/2017         Motion   of Time to File
                                                      Response
                                                      Order Deny Motion
                          07/05/2017         Order
                                                      to Strike
                          06/26/2017       Response   Response               PER 6/15 ORDER

                                                      ORD-TO FILE
                          06/15/2017         Order
                                                      RESPONSE
                          06/14/2017         Motion   Motion To Strike

                                                      Order Deny
                          06/13/2017         Order    Miscellaneous
                                                      Motion
                                                      Notice of
                          06/13/2017         Notice
                                                      Appearance
                                                      Order Grant EOT to
                          06/06/2017         Order
                                                      Reply to Response
                                                      Motion Extension of
                          06/05/2017         Motion   TimeTo Reply To
                                                      Respons
                                                                             TO ADDITIONAL SUGGESTIONS
                          06/02/2017       Response   Response               IN SUPPORT OF MOT TO
                                                                             DISQUALIFY
                                                      Appendix to
                          05/26/2017 Brief/Record
                                                      Response
                                                                             PER 5/16 ORDER TO MOT
                          05/26/2017       Response   Response
                                                                             DISQUALIFY
                                                                             "ADDITIONAL SUGGESTIONS
                                                      Miscellaneous
                          05/25/2017         Event                           IN SUPPORT OF MOT TO
                                                      Docket Entry
                                                                             DISQUALIFY"
                          05/25/2017 Brief/Record Appendix                   TO ADDITIONAL SUGGESTIONS

                                                      Order Grant EOT to
                          05/22/2017         Order    file Response to Ct.
                                                      Order
                                                      Motion for Extension
                          05/19/2017         Motion   of Time to File
                                                      Response
                                                      Notice of
                          05/19/2017         Notice
                                                      Appearance
                                                      ORD-TO FILE
                          05/16/2017         Order
                                                      RESPONSE
                          05/16/2017 Brief/Record Appendix                   TO MOT DISQUALIFY

                                                      Miscellaneous
                          05/16/2017         Motion                          TO DISQUALIFY
                                                      Motion
                                                      Order Grant EOT to
                          05/09/2017         Order    file Response to Ct.
                                                      Order
                          05/09/2017 Brief/Record Appendix
https://edca.5dca.org/Docket.aspx?CaseID=63729                                                           2/3
9/25/2017              Case 2:17-bk-07843-FMD              Doc 8        Filed 09/28/17
                                                                        Docket           Page 102 of 105
                                                       Motion for Extension
                          05/09/2017         Motion    of Time to File
                                                       Response
                          05/08/2017         Notice    Other Notice            OF NON-REPRESENTATION

                                                       ORD-Respondent to
                          04/25/2017         Order
                                                       Respond
                                                                               : Receipt: 2017 - 1014097
                          04/24/2017        Receipt    Case Filing Fee
                                                                               Amount: 300
                                                       Order to pay filing
                          04/20/2017         Order
                                                       fee - Writ (300)
                          04/20/2017 Brief/Record Appendix to Petition FILED HERE 4/19/17

                                                       Acknowledgement
                          04/20/2017         Letter
                                                       Letter 1
                                                                               : Invoice #: 2017 - 1012499
                          04/20/2017         Invoice   Filing Fee $300
                                                                               Amount: 300

                          04/20/2017        Petition   Petition Filed          FILED HERE 4/19/17




https://edca.5dca.org/Docket.aspx?CaseID=63729                                                               3/3
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                         Exhibit I
                                                                                              Case 2:17-bk-07843-FMD           Doc 8   Filed 09/28/17    Page 104 of 105




                                                                                                          IN THE FIFTH DISTRICT COURT OF APPEAL
                                                                                                                     STATE OF FLORIDA

                                                                                 MICHAEL CONNOLLY
                                                                                                                                                        CASE NO. 5D17-1172
RECEIVED, 9/13/2017 3:50 PM, Joanne P. Simmons, Fifth District Court of Appeal




                                                                                                               Petitioner,

                                                                                 v.

                                                                                 GABRIEL MURPHY AND
                                                                                 GCM HOLDINGS LTD.,

                                                                                                Respondents.
                                                                                 _________________________________

                                                                                  NOTICE OF AUTOMATIC STAY PURSUANT TO BANKRUPTCY CODE

                                                                                           Petitioner, MICHAEL CONNOLLY, hereby provides notice that an

                                                                                 involuntary bankruptcy petition has been filed against Gabriel Murphy, which

                                                                                 action is styled as In re Gabriel C. Murphy, putative debtor; United States

                                                                                 Bankruptcy Court, Middle District of Florida, Ft. Myers Division; Case No. 9:17-

                                                                                 bk-07843-FMD, invoking the automatic stay provisions of 11 U.S.C. § 362(a).




                                                                                                                                 By:    /s/ Kelly Parsons Kwiatek
                                                                                                                                        ANDREA KURAK
                                                                                                                                        FLA. BAR NO. 0414069
                                                                                                                                        KELLY PARSONS KWIATEK
                                                                                                                                        FLA. BAR NO. 860611
                                                                                                                                        Primary Email:
                                                                                                                                        Andrea.Kurak@CobbCole.com
                                                                                                                                        Kelly.Parsons@CobbCole.com
                                                                                                                                        Secondary Email:


                                                                                 042564-004 : KPARS/DRFTMSC : 02171794.DOCX;
             Case 2:17-bk-07843-FMD           Doc 8       Filed 09/28/17   Page 105 of 105




                                                           Michele.Staples@CobbCole.com
                                                           149 South Ridgewood Ave., Suite 700
                                                           Daytona Beach, FL 32114
                                                           Telephone: (386) 323-9269
                                                           Facsimile: (386) 944-7958
                                                           ATTORNEY FOR PETITIONER,
                                                           MICHAEL CONNOLLY



                                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 13th day of September, 2017, a true and
correct copy of the above and foregoing was e-filed via eDCA and furnished via
email to: Lauren Heatwole, Esq., Heatwole Law Firm, 1415 E. Robinson Street,
Suite      B,     Orlando,      FL      32801,      Lauren@HeatwoleLaw.com,
Kathry@HeatwoleLaw.com, Shannn@HeatwoleLaw.com.


                                                /s/ Kelly Parsons Kwiatek
                                                Attorney




042564-004 : KPARS/DRFTMSC : 02171794.DOCX;
                                                      2
